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                              Index of Exhibits to
                        Trial Declaration of Robert Joy

Exhibit Description

  A     Expert report and opinions of Robert Joy

  B     Resume of Robert Joy

  C     List of documents considered by Robert Joy in coming to his opinions and
        conclusions
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12                                   EXHIBIT A
13
                    EXPERT TRIAL DECLARATION OF ROBERT JOY
14
                                  OCTOBER 27, 2021
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 1 I           INTRODUCTION

 2             A.    OVERVIEW AND SUMMARY

 3             The Arizona Department of Corrections, Rehabilitation & Reentry (“ADCRR”) 1 is
 4 responsible for meeting the reasonable and necessary healthcare needs of its incarcerated
 5 residents as part of its obligation to sustain a constitutionally adequate environment during

 6 conditions of confinement. To provide for these needs, ADCRR operates a healthcare
 7 delivery system at its ten state prisons, and ADCRR contracts with Centurion of Arizona,

 8 LLC (“Centurion”) to support healthcare delivery for its residents.

 9             Healthcare delivery—whether in the community or correctional facilities—
10 inherently is a labor-intensive function. A structured, empirical, dynamic and evidence-
11 based staffing model is essential for determining the labor inputs for a healthcare delivery

12 system that effectively meets the healthcare needs of its patients. Through providing
13 adequate, reasonable and necessary care to its constituents, a properly resourced healthcare

14 delivery system not only can sustain and improve patient well-being, it also reduces the

15 likelihood       of preventable   adverse healthcare   events and avoidable healthcare
16 complications.
17             The healthcare delivery system under ADCRR’s complete control includes primary
18 care, dental care, mental health care, residential-based healthcare (e.g., skilled nursing,
19 psychiatric inpatient), medication administration, collection of laboratory specimens, and

20 x-ray imaging. Other services provided outside the scope of ADCRR’s direct control are

21 those ordered by primary care physicians (e.g., specialist services) or required to meet

22 residents’ acute emergent medical needs (e.g., transfers to a hospital emergency room).
23 While ADCRR is responsible for all reasonably necessary and ordered healthcare provided

24 to its residents, ADCRR’s healthcare delivery model delegates the resource management
25
               1
             Acronyms are defined throughout and can also be found in the Appendix on the
26 last page of this report.

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 1 of those services outside the scope of its direct control, including staffing, to other entities

 2 (i.e., neither ADCRR nor Centurion employ the hospital or specialist staff who provide

 3 specialty and hospital care for ADCRR residents).

 4             This analysis describes a staffing model for the healthcare under ADCRR’s

 5 complete control (i.e., excluding hospital and specialty care) delivered to ADCRR

 6 residents. The model used in this analysis produces the following outputs:
 7             The estimated number of healthcare services that ADCRR residents require

 8             annually across various service types;

 9             The estimated numbers and types of healthcare services that each staff full-time

10             equivalent (“FTE”) in various clinical classifications can provide annually for

11             ADCRR residents; and

12             The estimated number of staff FTEs in various classifications that are required to

13             meet ADCRR resident healthcare demands of various types, presented as a range

14             due to the nature of the estimates involved in determining the potential staffing

15             numbers.

16             To derive these outputs, the staffing model in this analysis requires the following

17 information:

18             The estimated average daily number of ADCRR residents in the various cohorts that

19             impact service demand;

20             The estimated number of various clinical services expected for each resident

21             annually in these cohorts;

22             The estimated number of various clinical services one FTE in each classification

23             can support each day; and

24             The estimated number of days available for patient care in each classification, per

25             year and per FTE.

26             Using this approach and based on the available evidence to support this analysis,

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1 there is a significant gap between the current number of contracted or hired staff providing

2 healthcare services to ADCRR residents and the estimated number of staff needed in the

3 model. Estimates are provided as a range based on the variability of assumptions used in

4 the model; percentages in the table below may not add up to 100% due to rounding. The
5 ranges here are expressed in terms described later in the report and are based on

6 assumptions about the estimated ranges of resident cohort sizes, resident service utilization,
7 and provider throughout.

8         FTEs by             Staffing Model         Current ADCRR        % Difference
          Classification      Output Range               Staffing        Between Current
9                                                                          and Modeled
10                                                                           Staffing

11
                           Balanced        High      Current Current Variance Variance
12                         Estimate        Mid-       Hired  Contract between between
                                           Point                      Contract Contract
13                                        Estimate                       and     and
                                                                      Balanced  High
14
                                                                      Estimate  Mid-
15                                                                              Point
                                                                               Estimate
16        Staff PCP 2          76           89         57      53      -30%     -40%
          Staff                38           58         31      31       -17%    -47%
17        Psychiatrist
18        Staff MH 3          358           554            75   100       -72%        -82%
          Clinician
19        Staff BHT 4         417           550        27       29        -93%        -95%
          Staff NA /          208           267        101      99        -52%        -63%
20        PCT 5
          Staff LPN 6 +       305           378        135      185       -39%        -51%
21
          MA 7
22
23    2    Primary Care Provider
      3    Mental Health
24    4    Behavioral Health Technician
      5    Patient Care Technician
25
      6    Licensed Practical Nurses
26    7    Medical Assistant
                                                     -3-
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 1        Staff RN 8          343          424         168         229        -33%         -46%
          Staff Lab Tech      188          259          9           6         -97%         -98%
 2        Staff MRT 9          9           11           8           8         -12%         -29%
 3        Staff Pharm         58           69          35           31        -47%         -55%
          Tech
 4        Staff Dentist        28          35             16       19          -33%        -45%
          Staff DA 10          57          69             41       43          -24%        -38%
 5        Staff RDH 11         28          35             0        0          -100%       -100%
 6
               Among the more prominent potential staffing shortages based on the staffing model
 7
      output include:
 8
                     Mental Health (“MH”) Clinicians, the understaffing which may reflect the
 9
                     unmet demand for mental health counseling and professionally-led mental
10
                     health group sessions;
11
                     BHTs, the understaffing which may reflect unmet specialized mental health
12
                     bed demands (i.e., MH residential, psychiatric inpatient, and precautionary
13
                     MH watch);
14
                     NAs and PCTs, the understaffing which may reflect unmet specialized
15
                     medical bed needs (i.e., SNU and IPC);
16
                     Lab Techs, the understaffing which may reflect lab specimen handling
17
                     workflows where nurses or other licensed and certified staff are drawing
18
                     samples to fulfill lab orders, which is an exceptionally inefficient use of
19
                     healthcare resources (i.e., healthcare staff should be assigned to duties at the
20
                     maximum capacity of, but not to exceed, their scope of licensure or
21
                     certification); and
22
23

24    8
     Registered Nurses
      9
     Medical Radiological Technician
25
   10 Dental Assistant
26 11 Registered Dental Hygienist

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 1                    RDHs, who typically support dental clinic workload in the free world but

 2                    who are completely missing from ADCRR healthcare staffing

 3             Also notable in this report’s findings is the proportion of prescribing providers (i.e.,

 4 MD 12 , DO 13 , NP 14 and PA 15 licensure) who are Advanced Practice Providers (“APPs”)
 5 (i.e., NP and PA). The ratio of APP to physician staff at ADCRR is about 6:1 overall. The

 6 overall ratio in the United States is about 1:2 APPs to physicians, and in Arizona the ratio
 7 of APPs to physicians is about 1:3. These data suggest that ADCRR uses APPs at a rate

 8 nearly 13 times higher than the national ratio of physicians to APPs and nearly 20 times

 9 higher than community practice physician-to-APP ratios in Arizona.

10             Assumptions used in this analysis are based on data available from ADCRR as well

11 as literature on the prevalence of healthcare conditions and use of healthcare services

12 among the U.S. general population, including among the justice-involved population. I
13 created this model separate from the current staffing matrix in place at the ADCRR

14 facilities. This is for several reasons: (1) the staffing model outline in this report is intended

15 to be an independent analysis of what healthcare staffing numbers are sufficient to provide

16 adequate care to the inmates at the ADCRR facilities; (2) it is unclear, even after reviewing
17 internal ADCRR and Centurion documents and depositions of ADCRR and Centurion

18 officials, exactly who comes up with the healthcare staffing numbers in the contract
19 between Centurion and ADCRR or how those decisions are made; 16 and (3) it is clear from

20 internal ADCRR and Centurion documents provided to me and recent deposition testimony

21 that officials at ADCRR and Centurion do not agree on whether the current healthcare

22
      12
       Doctor of Medicine
23    13
       Doctor of Osteopathic Medicine
   14 Nurse Practitioner
24 15
       Physician Assistant
   16 Transcript of Centurion Staffing 30(b)(6) Deposition of Tom Dolan at 70:25–71:10
25
   (stating Centurion does not have a “template staffing model”); Transcript of ADCRR
26 Staffing 30(b)(6) Deposition of Larry Gann at 10:7–11:3.

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 1 staffing model at the facilities is sufficient to provide adequate healthcare to the inmate

 2 population. 17 ADCRR can apply a framework similar to the one used in this evidence-

 3 based staffing model to update estimated healthcare staffing needs for its facilities as the

 4 healthcare needs of its population change over time.
 5            B.    QUALIFICATIONS

 6            I have extensive experience in evidence-based leadership, strategic planning,

 7 performance evaluation, quality improvement, and data analysis, both within the healthcare

 8 industry in general and within public healthcare and corrections agencies specifically. I

 9 have led diverse teams to help large health and human services agencies develop and

10 implement strategies that improve outcomes and reduce inequities for their most vulnerable
11 clients. I obtained my Master of Business Administration from the Thunderbird School of

12 Global Management at Arizona State University and am both Project Management
13 Professional (“PMP”) and Professional Scrum Master (“PSM”) certified.

14            Since 2009, I have worked as an Executive Quality Management Consultant for

15 California Correctional Health Care Services developing and implementing enterprise-

16 wide analytic capabilities to improve the lives of over 100,000 patients at a $3-plus billion
17 agency under court-supervised oversight. In this role, I led a high-profile time-limited

18 project to redesign its enterprise medical staffing models using an evidence-based, data-
19 driven approach.

20            Since 2017, I have contracted with my clients as Owner, President and Principal

21

22   17 See Email from T. Dolan to V. Headstrom, Jan. 14, 2020 (ADCRR00111128–111130)
     (submitting staffing matrix and a staffing proposal to ADCRR that was ultimately rejected
23   for unspecified reasons); Transcript of Centurion Staffing 30(b)(6) Deposition of Tom
24   Dolan at 88:24–90:4 (stating Centurion proposed a staffing level above the 1052.75 but the
     proposal was rejected by ADCRR); Transcript of ADCRR Staffing 30(b)(6) Deposition of
25   Larry Gann at 31:21–32:6) (referring to Centurion as the “experts” and that ADCRR will
     not question their staffing numbers) and at 13:17-14:8: (referring to the staffing model
26   being in place since prior to the Wexford contract).
                                                 -6-
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 1 Consultant of Carbone Joy Consulting LLC, a firm focused on designing and executing

 2 strategies to improve health and human services delivery for vulnerable populations.

 3 Between 2014 and 2017, I contracted with my health and human services clients as

 4 Consulting Director at Public Consulting Group. Between 2007 and 2014, I contracted
 5 with my clients as Senior Consulting Manager at Hubbert Systems Consulting. In my role

 6 of Senior Consulting Manger at Hubbert, I led a set of reports describing opportunities for
 7 improvement at the California Department of Public Health. 18 In 2015 I was required to

 8 testify about these reports in front of the California State Legislature. Prior to 2007, I held

 9 leadership roles at IBM and Sutter Health.

10            A copy of my curriculum vitae including a list of publications I authored in the

11 previous ten years is attached to this report as Exhibit B.

12            C.    COMPENSATION DISCLOSURE

13            I am being compensated at the rate of $240 per hour for my time on this matter. My
14 compensation is not determined by the nature of my findings or the outcome of this case.

15            D.    MATERIALS CONSIDERED

16            In conducting my analysis, I reviewed and considered certain documents I was

17 provided, and information I gathered from public sources.          A complete listing of the

18 information I have considered to date in forming my opinions is listed in Exhibit C of this
19 report.

20

21
     18  California Department of Public Health Licensing & Certification Program – Initial
22   Assessment & Gap Analysis Report, Hubbert Systems Consulting (Aug. 2014), available
     at
23   https://www.cdph.ca.gov/Programs/CHCQ/LCP/CDPH%20Document%20Library/Asses
24   smentAndGapAnalysis.pdf; California Department of Public Health Licensing &
     Certification Program – Remediation Recommendations, Hubbert Systems Consulting
25   (Aug.                      2014),                    available                      at
     https://www.cdph.ca.gov/Programs/CHCQ/LCP/CDPH%20Document%20Library/Reme
26   diationRecommendations.pdf.
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 1            E.     ALLEGATIONS AND SUMMARY OF ASSIGNMENT

 2            I have been retained by counsel to the Plaintiffs in this matter to serve as an expert

 3 witness in the above referenced matter. It is my understanding that the Plaintiffs allege

 4 they have received inadequate medical, dental, and mental health care while incarcerated
 5 by the Arizona Department of Corrections, Rehabilitation & Reentry, and that the

 6 conditions of confinement in isolation units place people living in them at substantial risk
 7 of serious harm. I have been asked to determine whether ADCRR’s healthcare staffing

 8 levels are sufficient and, if not, what adequate staffing, hiring, and allocation numbers

 9 should be. 19

10            My analysis and evaluation discussed in this report are based on certain

11 assumptions, including data available in the healthcare industry literature, reports supplied

12 by ADCRR, and expert judgement based on extensive experience with healthcare data
13 analysis and correctional healthcare delivery systems.           My report is based upon my

14 experience and the information listed in Exhibit C of this report, and I am in a position to

15 render my opinions at this time based on such information. All documents that I reviewed

16 or reference in this report are incorporated as part of this report. I respectfully reserve the
17 right to revise or expand my opinions to reflect any additional opinions I may formulate

18 based upon additional data or information acquired after my report is submitted, including
19 responding to opinions of expert witnesses for the Defendants.

20 II         SUMMARY OF OPINIONS
21            This analysis contains three components. The first major component describes a

22 statewide staffing model that estimates overall ADCRR patient acuity, patient healthcare
23 service needs, and the number of staff in various classifications required to deliver those

24 healthcare services. The second minor component examines these factors at each location
25
     19
      I did not analyze the adequacy of the current staffing model for correctional staff, or the
26 vacancy levels of those positions.

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 1 and identifies potential local staffing gaps. The third minor component compares current

 2 and proposed ADCRR staffing to other relevant healthcare national staffing data.

 3               A.      WHAT QUANTITY OF HEALTHCARE SERVICES DO ADCRR
                         RESIDENTS REQUIRE ANNUALLY ACROSS VARIOUS SERVICE
                         TYPES, AND WHAT IS THE STAFFING LEVEL REQUIRED TO
 4                       PROVIDE SERVICES TO ADCRR PATIENTS?
 5

 6               This first section of the ADCRR healthcare staffing analysis evaluates the estimated

 7 number of staff required to meet overall resident needs for healthcare services by

 8 examining the following key factors driving healthcare demand:

 9          i.        What are the characteristics of ADCRR residents that impact service demand?

10         ii.        How many ADCRR residents are there in each of these cohorts?

11        iii.        What types of clinical services do ADCRR residents require?

12        iv.         How many healthcare services are residents in various cohorts expected to

13                    require from the providers in different clinical classifications, and how do these

14                    demands impact staffing needs?

15         v.         What is the gap between the current ADCRR healthcare staffing plan and the

16                    healthcare staffing required based on this analysis?

17               Each factor is examined in detail below.

18               i.      What are the characteristics of ADCRR residents that impact service
                         demand?
19

20               This analysis includes an expected count of ADCRR residents at the ten state prisons

21 who are in various group or “cohorts” that require different quantities and types of clinical

22 services, which supports estimating total staff required to meet the healthcare service
23 demands of all the residents. Grouping residents into cohorts and estimating the count of

24 residents in each cohort supports quantifying healthcare service demand, as total service
25 demand is a product of the expected number of residents requiring a service and the

26 expected number of various services required on average per resident. Service demand

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 1 varies by cohort (e.g., sicker patients require more services), which requires separate

 2 estimates of the count of residents and the expected volume of each type of service that

 3 they need.

 4            Cohorts are selected based on those groups and sub-categories that:

 5            have healthcare demand characteristics that are materially different than other

 6            categories in a cohort group;

 7            have a significant number of ADCRR residents (e.g., >100 statewide or at any

 8            location); and

 9            are readily distinguishable in the available internal and external data sources used

10            to differentiate resident cohort and service demand characteristics.

11            Three main cohort groupings are used for this analysis to stratify the ADCRR

12 resident population and estimate the unique healthcare service demand characteristics
13 across each cohort group. Individual ADCRR residents are represented across each of the

14 following cohort groups:

15       1. The medical cohort group assigns each resident in the ADCRR census on a single

16            day to a mutually exclusive category based on the resident’s expected demands for

17            medical services.

18       2. The mental health cohort group assigns each resident in the ADCRR census on a

19            single day to a mutually exclusive category based on the resident’s expected

20            demands for mental health services.

21       3. The substance use disorder (“SUD”) cohort group assigns each resident in the

22            ADCRR census on a single day to a mutually exclusive category based on the

23            resident’s expected demands for substance use disorder treatment services.

24            While residents are stratified within each of these three cohort groupings, category

25 assignment is mutually exclusive within each cohort grouping. This means that service

26 demand characteristics are additive between cohorts, i.e., there are additional healthcare

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1 requirements for medical services in addition to any ongoing SUD or mental health service

2 demand; also, ongoing mental health services demands are incremental to those medical-

3 and SUD-related healthcare service demands.

4             The medical cohort grouping includes residents in the following mutually exclusive

5 categories, loosely based on the current ADCRR medical classification system 20 but also

6 on literature associating various characteristics with healthcare utilization 21 :
7             Residents with no chronic conditions or special requirements (i.e., episodic medical

8             care only);

9             Residents with 1 stable chronic medical condition or age 50+;

10            Residents with 2 chronic medical conditions or with restricted physical capacity

11            requiring accommodation and of any age;

12            Residents with 3+ chronic medical conditions or severe physical illness with high

13            medical usage characteristics (e.g., HIV, advanced age, dialysis) or limited physical

14            capacity/ stamina;

15

16   20 Arizona Department of Corrections, Admissions, Releases, Confined Population Fact
17   Sheet,               (“Inmate                Population            Fact             Sheet”),
     https://corrections.az.gov/sites/default/files/REPORTS/Inmate_Population/inmate_popfac
18   ts_sheet_2019.pdf; Arizona Department of Corrections, Rehabilitation & Reentry Medical
     Services Division, Medical Services Technical Manual (Updated: June 3, 2021) (“Mental
19   Health                                   Technical                                Manual”),
     https://corrections.az.gov/sites/default/files/documents/PDFs/tech_manuals/adcrr-
20
     healthservicestechnicalmanual_060321.pdf.
     21 See, e.g., Multiple Chronic Conditions Chartbook, 2010 MEDICAL EXPENDITURE
21
     PANEL                                       SURVEY                                   DATA,
22   https://www.ahrq.gov/sites/default/files/wysiwyg/professionals/prevention-chronic-
     care/decision/mcc/mccchartbook.pdf; Correctional Health Care: Addressing the Needs of
23   Elderly, Chronically Ill, and Terminally Ill Inmates, https://nicic.gov/correctional-hea lt h-
24   care-addressing-needs-elderly-chronically-ill-and-terminally-ill-inmates; Health, United
     States Annual Report (2019), https://www.cdc.gov/nchs/hus/index.htm; National
25   Commission on Correctional Health Care, The Health Status of Soon-to-Be-Released
     Inmates: A Report to Congress, https://www.ncchc.org/health-status-of-soon-to-b e-
26   released-inmates.
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 1            Special Needs Unit (“SNU”) residents, including patients in assisted living and

 2            sheltered housing requiring a level of care similar to that received in the free

 3            community by patients in assisted living or who require adult day health care; 22 all

 4            primary care provider and nursing care needs associated with the SNU level of care

 5            are included in this cohort; this cohort may include some patients who also have

 6            specialized mental health bed needs if they also fall into one of those mental health

 7            cohorts; and

 8            Inpatient Components residents (“IPC residents”), including their primary care

 9            provider and nursing care needs associated with the IPC level of care requiring

10            services similar to that received in the free community by patients in a skilled

11            nursing facility; 23 this cohort may include some patients who also have specialized

12            mental health bed needs if they also fall into one of those mental health cohorts.

13            The mental health cohort grouping includes residents in the following eight

14 mutually exclusive categories, loosely based on the current ADCRR medical classification

15 system 24 but also on literature associating various characteristics with mental health

16 utilization: 25
17
      22  NATIONAL CENTER FOR HEALTH STATISTICS, Vital and Health Statistics,
18   Series 3, Number 43, (Feb. 2019) https://www.cdc.gov/nchs/data/series/sr_03/sr03_4 3-
     508.pdf.
19    23 Id.
      24 Inmate Population Fact Sheet; Mental Health Technical Manual.
20    25 See, e.g., Bureau of Justice Statistics: Statistical Models to Predict Mental Illness

21   Among State and Federal Prisoners, https://bjs.ojp.gov/library/publications/statistica l-
     models-predict-mental-illness-among-state-and-federal-prisoners; U.S. Department of
22   Justice, Office of Justice Programs: Mental Health Problems of Prison and Jail Inmates
     (September 2006), https://www.ojp.gov/ncjrs/virtual-library/abstracts/mental-hea lt h-
23   problems-prison-and-jail-inmates; National Institute of Mental Health - Statistics and
24   Definitions, https://www.nimh.nih.gov/health/statistics/mental-illness; Key Substance Use
     and Mental Health Indicators in the United States: Results from the 2019 National Survey
25   on Drug Use and Health
     https://www.samhsa.gov/data/sites/default/files/reports/rpt29393/2019NSDUHFFRPDF
26   WHTML/2019NSDUHFFR1PDFW090120.pdf.
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1         1. Residents with no current mental illness and with episodic mental health care needs

2             only, and who are in isolated housing, including residents in maximum security,

3             death row, Special Management Units (“SMU”), protective custody and detention;

4         2. Residents with no current mental illness and with episodic mental health care needs

5             only, who are not in isolated housing;

6         3. Residents with current mild or moderate mental illness, and who are in isolated

7             housing, including residents in maximum security, death row, SMU, protective

8             custody and detention;

9         4. Residents with current mild/moderate mental illness, and who are not in isolated

10            housing;

11        5. Residents with current serious mental illness “(SMI”), 26 and who are in isolated

12            housing, including residents in maximum security, death row, SMU, protective

13            custody and detention;

14        6. Residents with current serious mental illness, and who are not in isolated housing;

15        7. Patients in residential mental health care regardless of housing security level,

16            including patients with current SMI who require daily or near-daily mental health

17            treatment similar to intensive mental health outpatient or partial mental health

18            hospitalization care in the community, but who have less than round-the-clock

19
     26  The U.S. Department of Health & Human Services’ Substance Abuse and Mental Health
20
     Services Administration defines the community standard for Serious Mental Illness (SMI)
21   as “a mental illness that interferes with a person’s life and ability to function”, including
     bipolar disorder, major depressive disorder, and schizophrenia. See Substance Abuse and
22   Mental Health Services Administration, Living Well with Serious Mental Illness,
     https://www.samhsa.gov/serious-mental-illness.       The ADC Mental Health Technical
23   Manual, Chapter 3, Section 6.0, “Determination and Management of Seriously Mentally
24   Ill (SMI) Patients” indicates “Any patient determined to be SMI in the community shall
     also be designated as SMI in ADC.” See ADCRR Mental Health Technical Manual -
25   Revised                                                                          12/24/2019,
     https://corrections.az.gov/sites/default/files/documents/PDFs/tech_manuals/adc-
26   mentalservicestechnicalmanual_042120.pdf.
                                                   -13-
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1             mental health care needs; 27 all of whom also have medical care needs according to

2             their medical cohort, including in some cases specialized medical bed needs; and

3         8. Patients in psychiatric inpatient care or precautionary mental health watch

4             regardless of housing security level, including patients with round-the-clock mental

5             health care needs; 28 all of whom also have medical care needs according to their

6             medical cohort, including in some cases specialized medical bed needs.

7             The SUD cohort grouping includes residents in the following three mutually

8 exclusive categories: 29

9    27  NASMHPD - Trend in Psychiatric Inpatient Capacity, United States and Each State
10   1970 to 2014 https://www.nasmhpd.org/sites/default/files/TACPaper.2.Psychiatric-
     Inpatient-Capacity_508C.pdf; National Mental Health Services Survey (N-MHSS): 2018
11   Date           on            Mental          Health           Treatment          Facilities
     https://www.samhsa.gov/data/sites/default/files/cbhsq-reports/NMHSS-2018.pdf;          Key
12   Substance Use and Mental Health Indicators in the United States: Results from the 2019
13   National          Survey          on          Drug          Use         and         Health
     https://www.samhsa.gov/data/sites/default/files/reports/rpt29393/2019NSDUHFFRPDF
14   WHTML/2019NSDUHFFR1PDFW090120.pdf; February 2009 Impacts Associated with
     the Medicare Psychiatric PPS: A Study in Partial Hospitalization Programs
15   https://www.cms.gov/Research-Statistics-Data-and-Systems/Statistics-Trends-and-
     Reports/Reports/downloads/Leung_PHP_PPS_2010.pdf.
16   28 NASMHPD - Trend in Psychiatric Inpatient Capacity, United States and Each State

17   1970 to 2014         https://www.nasmhpd.org/sites/default/files/TACPaper.2.Psychiatri c-
     Inpatient-Capacity_508C.pdf; Treatment Advocacy Center - How Many Psychiatric Beds
18   Does           America            Need             (Created         March           2016),
     https://www.treatmentadvocacycenter.org/storage/documents/backgrounders/how-many-
19   psychiatric-beds-does-america-need.pdf; National Mental Health Services Survey (N-
     MHSS):        2018       Date     on      Mental       Health     Treatment      Facilities,
20
     https://www.samhsa.gov/data/sites/default/files/cbhsq-reports/NMHSS-2018.pdf;          Key
21   Substance Use and Mental Health Indicators in the United States: Results from the 2019
     National          Survey          on         Drug           Use        and         Health,
22   https://www.samhsa.gov/data/sites/default/files/reports/rpt29393/2019NSDUHFFRPDF
     WHTML/2019NSDUHFFR1PDFW090120.pdf.
23   29 Based on guidance, data and findings from: Office of the Assistant Secretary - Has

24   Treatment for Substance Use Disorders Increased, https://aspe.hhs.gov/reports/ha s-
     treatment-substance-use-disorders-increased-issue-brief; Key Substance Use and Mental
25   Health Indicators in the United States: Results from the 2019 National Survey on Drug Use
     and                                                                                Health,
26   https://www.samhsa.gov/data/sites/default/files/reports/rpt29393/2019NSDUHFFRPDF
                                                  -14-
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 1       1. Residents with no substance use disorder or requiring only minimal education

 2            delivered as part of their normal prison programming;

 3       2. Residents requiring substantial intervention and education to treat their substance

 4            use disorder but who do not require medication assisted treatment (“MAT”); and

 5       3. Residents requiring substantial intervention and education to treat their substance

 6            use disorder, including MAT.

 7            In addition to the mental health, medical and SUD cohort groupings, residents may

 8 require other services associated with various types of movement, the demand or interval

 9 for which is unrelated to assignment in a mental health, medical or SUD cohort. Unlike

10 the medical, mental health and SUD cohorts, a resident may experience multiple movement
11 events within and across the following various movement types during their ADCRR

12 prison sentence, many of which are associated with policy requirements for healthcare
13 evaluations: 30

14            New intake (e.g., residents newly admitted to an ADCRR state prison from other

15            jurisdictions or parole violators returning to an ADCRR state prison), including

16            healthcare evaluation requirements incremental to any ongoing medical, dental or

17            mental health needs commensurate with the medical and mental health cohorts for

18            new intakes;

19

20
     WHTML/2019NSDUHFFR1PDFW090120.pdf; Office of the Assistant Secretary for
21   Planning and Evaluation, Review of Medication - Assisted Treatment Guidelines and
     Measures for Opioid and Alcohol Use, https://aspe.hhs.gov/reports/review-medicatio n-
22   assisted-treatment-guidelines-measures-opioid-alcohol-use-0.
     30 See Arizona Department of Corrections, Rehabilitation & Reentry - Medical Services
23   Technical             Manual             Updated           June        3,          2021,
24   https://corrections.az.gov/sites/default/files/documents/PDFs/tech_manuals/adcrr-
     healthservicestechnicalmanual_060321.pdf; Arizona Department of Corrections - Mental
25   Health              Technical              Manual           Revised          12/24/2019,
     https://corrections.az.gov/sites/default/files/documents/PDFs/tech_manuals/adc-
26   mentalservicestechnicalmanual_042120.pdf.
                                                  -15-
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 1            Transfer to isolated housing, including maximum security, death row, SMU,

 2            protective custody and detention beds;

 3            Inter-institution transfer;

 4            Transfer to/from psychiatric inpatient care or precautionary mental health watch;

 5            Return from hospital or specialty care.

 6                   ii.     How many ADCRR residents are there in each of these cohorts?

 7            Data on the expected distribution of ADCRR residents in various clinically relevant

 8 groupings were compiled based on data available from ADCRR as well as literature on the

 9 prevalence of healthcare conditions among the US general population, including among

10 the justice-involved population.
11            As described earlier, individual residents are represented across each of the cohort

12 groups, however, cohorts are mutually exclusive within each cohort group. This means
13 that service demand characteristics are additive between cohorts, i.e., there are additional

14 healthcare requirements for newly admitted ADCRR residents in addition to any ongoing

15 medical service demand, and ongoing mental health services demands also are incremental

16 to those medical- and movement-related healthcare service demands.
17            The following tables represent findings from this data and literature search on a

18 range of the expected average daily census in each cohort. 31 These cohort range estimates
19 generally are expressed as a “Healthier Case-Mix Mid-Range” and a “Sicker Case-Mix

20 Mid-Range” representing some inherent variability in prevalence of healthcare conditions

21 within this population. Note that percentages shown for the entire population may not add

22
   31 While disparities in disease prevalence and healthcare utilization may vary somewhat
23 by more finely subcategorized cohorts, e.g., by gender (see for example - Bureau of Justice

24 Statistics       -     Medical        Problems        of      Prisoners      (April       2008)
   https://bjs.ojp.gov/library/publications/medical-problems-prisoners          and        National
25 Ambulatory Medical Care Survey: 2018 National Summary Tables -
   https://www.cdc.gov/nchs/data/ahcd/namcs_summary/2018-namcs-web-tables-508.pdf),
26 this additional potential level of variability was not discretely accounted for in this analysis.

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1 up to 100% due to rounding and the breadth of the range estimates. These estimates are

2 based on:

3             ADCRR Data: The range of expected proportions in each cohort grouping considers

4             a combination of data on current bed census, prison capacity, publicly available

5             ADCRR reports, and other resident data provided by ADCRR. 32 Notably, the

6             distribution of healthcare beds and case-mix at Florence changed during the time in

7             which this analysis was undertaken, and therefore census, capacity and staffing

8             counts may blend data from the pre- and post-Florence conversion periods. For

9             these cohort estimate tables, total census from September 24, 2021 for the ten

10            ADCRR prisons was used as the denominator, against which the cohort proportions

11            below were applied.     Note that while ADCRR data on mental health cohort

12            distributions were considered, no additional data on ADCRR medical cohorting or

13            medical classification were provided as requested.

14

15   32   Arizona Department of Corrections - ADCRR Institutional Capacity & Committed
     Population       Report     -     https://corrections.az.gov/reports-documents/reports/ad cr r-
16
     institutional-capacity-committed-population; ADC Institutional Capacity & Committed
17   Population       for   the     Month       Ending      July    31,    2021    Excel     Chart,
     https://corrections.az.gov/sites/default/files/REPORTS/Monthly_CP/bed_capacity_2021/
18   bed-capacity_jul21.pdf; Arizona Department of Corrections - Monthly Count Sheets for
     2021
19   https://corrections.az.gov/capacity-custody-level/2021; ADC Institutional Capacity
     Committed          Population      -       July      31,     2021      -     Excel      Chart,
20
     https://corrections.az.gov/sites/default/files/DAILY_COUNT/July2021/07312021_count_
21   sheet.pdf, (pre-Florence conversion); ADC Institutional Capacity Committed Population -
     September               12,              2021              -           Excel            Chart,
22   https://corrections.az.gov/sites/default/files/DAILY_COUNT/Sept2021/09242021_count
     _sheet.pdf (post-Florence conversion); Arizona Department of Corrections - Corrections
23   at a Glance
24   https://corrections.az.gov/reports-documents/reports/corrections-glance;             Arizona
     Department of Corrections - Admissions, Releases, Confined Population Fact Sheet,
25   https://corrections.az.gov/sites/default/files/REPORTS/Inmate_Population/inmate_popfac
     ts_sheet_2019.pdf, ADCRRM0024286-0025059 - 2021-05 - Chronic Conditions List.pdf,
26   ADCRRM0024284-0024285 - 2021-05 - ADCRR MH STATISTICAL SUMMARY.pdf.
                                                  -17-
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 1            Expert Judgement and Industry Literature: The range was based findings in various

 2            studies of both general and justice-involved populations in the US. Given the

 3            breadth of sources reviewed and the various populations associated with the studies,

 4            a cluster or midpoint of findings was used to estimate the expected rate of services

 5            within each cohort grouping for ADCRR’s justice-involved population. In most

 6            cases, the overall range for the entire population is unadjusted for the ADCRR

 7            cohort distribution, i.e., it is not weighted to the ADCRR case-mix. 33

 8            The first grouping of cohorts and related estimates assigned to ADCRR residents in

 9 this analysis, based not only on ADCRR data but also on expert judgement and industry

10 literature, 34 is intended to align with demand for medical, non-psychiatric services. Note
11   33   Findings were supplemented by interviews conducted via Zoom with plaintiffs’
     correctional medical expert Todd Wilcox, M.D. on 8/26/2021, 9/6/2021, and 9/14/2021;
12   and with plaintiffs’ mental health expert Pablo Stewart, M.D. on 8/23/2021 and 9/20/2021.
     34 U.S. Department of Justice - Special Report (Revised Oct. 4, 2016) Medical Problems
13
     of      State      and      Federal     Prisoners      and    Jail      Inmates,      2011-12
14   https://bjs.ojp.gov/content/pub/pdf/mpsfpji1112.pdf; Bureau of Justice Statistics - Medical
     Problems        of     Prisoners      (April    2008)      Author       Laura     Maruschak,
15   https://bjs.ojp.gov/library/publications/medical-problems-prisoners ; N Engl J Med. June
     2, 2011 by Josiah Rich M.D., Sarah Wakeman M.D. and Samuel L. Dickman, Medicine
16
     and       the      Epidemic       of     Incarceration     in      the      United     States,
17   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3154686/ ; Urban Institute - Health and
     Prisoner Reentry, How Physical, Mental and Substance Abuse Conditions Shape the
18   Process of Reintegration by Kamala Mallik-Kane and Christy Visher (February 26, 2008),
     https://www.urban.org/research/publication/health-and-prisoner-reentry
19           https://www.nap.edu/read/18613/chapter/9; Am J Public Health (April 2009) The
     Health and Health Care of US Prisoners; Results of a Nationwide Survey
20
     https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2661478/; Home Health Care News -
21   PlayMaker Releases Data on Home Health Length-of-Stay, Partners with WellSky, by
     Bailey                 Bryant                (December                20,               2018),
22   https://homehealthcarenews.com/2018/12/playmaker-releases-data-on-home-health-
     length-of-stay-partners-with-wellsky/; Bureau of Justice Statistics - Medical Problems of
23   Inmates, 1997, https://bjs.ojp.gov/library/publications/medical-problems-inmates-1997 ;
24   Centers for Disease Control and Prevention; Prevalence of Multiple Chronic Conditions
     Among US Adults, 2018, https://www.cdc.gov/pcd/issues/2020/20_0130.htm; National
25   Health Statistics Report, No. 153, February 23, 2021 -Multiple Chronic Conditions Among
     Veterans           and        Nonveterans:          United          States,        2015-2018,
26   https://www.cdc.gov/nchs/data/nhsr/nhsr153-508.pdf;
                                                   -18-
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 1 that while the categories are loosely based on ADC medical classification system (i.e., M1

 2 through M5), and the estimated proportions in each cohort are based on the sources outlined

 3 above, this analysis does not make any judgement on how individual patients are

 4 categorized.
 5    Medical Cohorts                         Literature / Data       Estimated Census
                                                   Review
 6
 7                                            Est.     Est.   Healthier           Sicker
                                            Healthier Sicker   Case-              Case-
 8                                           Case-    Case-     Mix                Mix
                                            Mix Mid- Mix Mid-   Mid-               Mid-
 9                                           Range    Range    Range              Range
      Residents with no chronic               52%      47%     14,451             13,058
10    conditions or special requirements
11    (i.e., episodic medical care only)
      Residents with 1 stable chronic          22%         19%         6,125       5,290
12    medical condition or age 50+
      Residents with 2 chronic medical         15%         21%         4,176       5,847
13    conditions or with restricted
      physical capacity requiring
14
      accommodation and of any age
15    Residents with 3+ chronic medical        10%         12%         2,784       3,341
      conditions or severe physical
16    illness with high medical usage
      characteristics (e.g., HIV,
17    advanced age, dialysis) or limited
18    physical capacity / stamina
      SNU Residents                           0.6%        0.6%         167         167
19    IPC Residents                           0.5%        0.5%         139         139
      Total for Medical Cohorts               100%        100%        27,843      27,843
20

21

22 of General Internal Medicine - Coming Home: Health Status and Homelessness Risk of
   Older             Pre-release          Prisoners        (June          8,          2010),
23 https://link.springer.com/article/10.1007/s11606-010-1416-8;

24 Centers for Disease Control and Prevention - Health, United States - Annual Report on
   Trends in Health Statistics, https://www.cdc.gov/nchs/hus/index.htm; 2010 Medical
25 Expenditure Panel Survey Data - Multiple Chronic Conditions Chartbook,
   https://www.ahrq.gov/sites/default/files/wysiwyg/professionals/prevention-chronic-
26 care/decision/mcc/mccchartbook.pdf.

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 1            The next cohort grouping describes general level of need for mental health services

 2 is based not only on ADCRR data but also on expert judgement and industry literature. 35

 3
     35Bureau of Justice Statistics - Statistical Models to Predict Mental Illness Among State
 4 and Federal Prisoners https://bjs.ojp.gov/library/publications/statistical-models-pred ict -
 5 mental-illness-among-state-and-federal-prisoners; N Engl J Med. June 2, 2011 by Josiah
    Rich M.D., Sarah Wakeman M.D. and Samuel L. Dickman, Medicine and the Epidemic of
 6 Incarceration                   in              the               United                States
    https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3154686/; Treatment Advocacy Center -
 7 Serious           Mental           Illness       Prevalence         in        Jails       and
    Prisons,https://www.treatmentadvocacycenter.org/evidence-and-research/learn-more-
 8 about/3695; Urban Institute - Health and Prisoner Reentry, How Physical, Mental and

 9 Substance Abuse Conditions Shape the Process of Reintegration by Kamala Mallik-Kane
    and             Christy              Visher         (February            26,           2008)
10  https://www.urban.org/research/publication/health-and-prisoner-reentry;
    Urban Institute - Using Research to Improve Health and Health Care in US Correctional
11 Facilities        by         Alexandra        Kirkland       (January         19,      2021),
    https://www.urban.org/research/publication/using-research-improve-health-and-health-
12 care-us-correctional-facilities; Robert Wood Johnson Foundation - Health and
13 Incarceration: A Workshop Summary by A. Smith (September 1, 2013),
    https://www.rwjf.org/en/library/research/2013/09/health-and-incarceration.html,       Adults
14 with Behavioral Health Needs Under Correctional Supervision: A Shared Framework for
    Reducing          Recidivism            and       Promoting          Recovery        (2012);
15 https://bja.ojp.gov/sites/g/files/xyckuh186/files/Publications/CSG_Behavioral_Framewor
    k.pdf;
16
    U.S. Dept. of Corrections - Mental Health Problems of Prison and Jail Inmates (Sept. 2006)
17 https://www.ojp.gov/ncjrs/virtual-library/abstracts/mental-health-problems-prison-and-
    jail-inmates; The Growth of Incarceration in the United States, Exploring Causes and
18 Consequences
   https://www.nap.edu/read/18613/chapter/9#207; Am J Public Health (April 2009) The
19 Health and Health Care of US Prisoners; Results of a Nationwide Survey,
    https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2661478/; National Commission on
20
    Correctional Health Care - The Health Status of Soon-to-Be-Released Inmates: A Report
21 to       Congress,      https://www.ncchc.org/health-status-of-soon-to-be-released-inmates ;
    National Institute of Mental Health - Statistics on Mental Illness and Definitions,
22 https://www.nimh.nih.gov/health/statistics/mental-illness; Key Substance Use and Mental
    Health Indicators in the United States: Results from the 2019 National Survey on Drug Use
23 and Health

24 https://www.samhsa.gov/data/sites/default/files/reports/rpt29393/2019NSDUHFFRPDF
    WHTML/2019NSDUHFFR1PDFW090120.pdf; Adm Policy Mental Health (March 2015)
25 The       dynamics        of      psychiatric    bed     use     in     general     hospitals,
    https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4207711/; Psychiatric Services - Length
26 of Inpatient Stay of Persons With Serious Mental Illness: Effects of Hospital and Regional

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 1 Because the distribution of beds by security level impacts demands for mental health

 2 services, these cohort estimates include an expectation that 18 to 20% of ADCRR prison

 3 beds are for residents requiring isolated housing. 36 This estimate of the proportion in

 4 isolated housing is based on available ADCRR bed census and capacity data, and it is
 5 applied to both the ADCRR cohort distributions as well as those found in the literature,

 6 i.e., estimates within each level of mental health acuity are proportionately split between
 7 residents in isolated and non-isolated beds. Also note that while the MH cohorts are loosely

 8 based on ADC mental health classification system (i.e., MH-1 through MH-5), and the

 9 estimated proportions in each cohort are based on the sources outlined above, this analysis

10 does not make any judgement on how individual patients are categorized.
     Mental Health Cohorts                        Literature / Data     Estimated Census
11                                                     Review
                                                  Est.         Est.   Healthier      Sicker
12                                            Healthier       Sicker   Case-       Case-Mix
                                                Case-          Case-    Mix           Mid-
13                                           Mix Mid- Mix Mid-          Mid-        Range
                                               Range          Range    Range
14 Residents with no current mental               12%           9%      3,341        2,506
     illness in isolated housing
15 Residents with no current mental               45%          44%     12,641       12,251
     illness not in isolated housing
16 Residents with current                          5%           3%      1,392         835
17   mild/moderate     mental  illness in
     isolated housing
18 Residents with current                         20%          13%      5,569        3,620
     mild/moderate mental illness not
19 in isolated housing
     Residents with serious mental                 3%           6%       835         1,671
20 illness in isolated housing
     Residents with serious mental                12%          22%      3,341        6,237
21
    Characteristics, https://ps.psychiatryonline.org/doi/10.1176/appi.ps.201100412; CDC -
22 Prescription Drug Use in the United States, 2015-2016 (May 2019) NCHS Date Brief No.
    334, https://www.cdc.gov/nchs/products/databriefs/db334.htm; Arizona Dept. of
23 Corrections        -     Inmate       Assault,      Self-Harm     &     Mortality      Data,
24  https://corrections.az.gov/reports-documents/reports/inmate-assault-self-harm-mortality-
    data
   36 Although prevalence of mental illness may vary by level of security (e.g., there may be a
25
    higher proportion of residents in isolated housing than in the general population), the
26 analysis does not adjust for this potential disparity.

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1     illness not in isolated housing
      Patients in residential mental             2%           2%          557           557
2     health care
      Patients in psychiatric inpatient         0.6%         0.6%         167           167
3     care or precautionary mental
      health watch
4     Total for MH Cohorts                      100%        100%         27,843       27,843
5
              As part of the development of projections for the estimated proportion of patients
6
     with various levels of mental illness and mental healthcare needs, it was notable that the
7
     ADC data showed that only between six and seven percent of the ADC population have
8
     SMI. 37 However as shown and referenced above, relevant literature indicates the expected
9
     proportion of patients with SMI could be as much as five times greater than what ADC is
10
     reporting. This improbably low proportion of patients identified by ADC as having SMI
11
     is an example of a data reliability issue caused by significant data systems capability
12
     maturity shortcomings, the remediation of which is foundational to ADC sustaining a
13
     healthcare delivery system that can adequately identify and meet the needs of its patients.
14
              The community standard of care for individuals with substance use disorder
15
     (“SUD”), including for justice-involved patients, includes cognitive behavioral therapy and
16
     medication assisted treatment. 38 These services are the targets of healthcare demand
17

18   37 See supra note 24 (The U.S. Department of Health & Human Services’ Substance Abuse
     and Mental Health Services Administration defines the community standard for Serious
19   Mental Illness (SMI) as “a mental illness that interferes with a person’s life and ability to
     function”, including bipolar disorder, major depressive disorder, and schizophrenia. See
20
     Substance Abuse and Mental Health Services Administration, Living Well with Serious
21   Mental Illness, https://www.samhsa.gov/serious-mental-illness. The ADC Mental Health
     Technical Manual, Chapter 3, Section 6.0, “Determination and Management of Seriously
22   Mentally Ill (SMI) Patients” indicates “Any patient determined to be SMI in the community
     shall also be designated as SMI in ADC.” See ADCRR Mental Health Technical Manual
23   -                                     Revised                                   12/24/2019,
24   https://corrections.az.gov/sites/default/files/documents/PDFs/tech_manuals/adc-
     mentalservicestechnicalmanual_042120.pdf).
     38 Based on Zoom interviews with Todd Wilcox on 8/26/21, 9/6/21, and 9/14/21; also
25
     based on guidance, data and findings from Office of the Assistant Secretary for Planning
26   and Evaluation - Has Treatment for Substance Use Disorders Increased ASPE Issue Brief
                                                  -22-
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1 associated with the SUD cohort grouping, estimates for which are based not only on

2 ADCRR data but also on expert judgement and industry literature. 39

3     SUD Cohorts                              Literature / Data   Estimated Census
                                                     Review
4                                               Est.        Est. Healthier    Sicker
                                              Healthier   Sicker  Case-     Case-Mix
5                                              Case-       Case-   Mix         Mid-
                                              Mix Mid- Mix Mid-    Mid-      Range
6
                                               Range      Range   Range
7     Residents who may require only            38%         22%   10,580      6,125
      education but not SUD treatment
8

9
     by Ellen Bouchery (March 2021) https://aspe.hhs.gov/reports/has-treatment-substanc e-
10   use-disorders-increased-issue-brief; Key Substance Use and Mental Health Indicators in
     the United States: Results from the 2019 National Survey on Drug Use and Health
11   https://www.samhsa.gov/data/sites/default/files/reports/rpt29393/2019NSDUHFFRPDF
     WHTML/2019NSDUHFFR1PDFW090120.pdf; Office of the Assistant Secretary for
12   Planning and Evaluation - Review of Medication - Assisted Treatment Guidelines and
13   Measures for Opioid and Alcohol Use (Nov. 24, 2015) https://aspe.hhs.gov/reports/rev iew-
     medication-assisted-treatment-guidelines-measures-opioid-alcohol-use-0.
     39 Urban Institute - Health and Prisoner Reentry, How Physical, Mental and Substance
14
     Abuse Conditions Shape the Process of Reintegration by Kamala Mallik-Kane and Christy
15   Visher (February 26, 2008)https://www.urban.org/research/publication/health-and -
     prisoner-reentry
16
     https://www.rwjf.org/en/library/research/2013/09/health-and-incarceration.html; Adults
17   with Behavioral Health Needs Under Correctional Supervision: A Shared Framework for
     Reducing           Recidivism          and        Promoting          Recovery         (2012),
18   https://bja.ojp.gov/sites/g/files/xyckuh186/files/Publications/CSG_Behavioral_Framewor
     k.pdf;
19   U.S. Department of Justice, Office of Justice Programs: Mental Health Problems of Prison
     and      Jail     Inmates       (September      2006),     https://www.ojp.gov/ncjrs/virtua l-
20
     library/abstracts/mental-health-problems-prison-and-jail-inmates; Office of the Assistant
21   Secretary for Planning and Evaluation - Has Treatment for Substance Use Disorders
     Increased        ASPE         Issue     Brief       by      Ellen     Bouchery        (March
22   2021)https://aspe.hhs.gov/reports/has-treatment-substance-use-disorders-increased-issue-
     brief; Key Substance Use and Mental Health Indicators in the United States: Results from
23   the       2019       National       Survey       on     Drug        Use     and       Health,
24   https://www.samhsa.gov/data/sites/default/files/reports/rpt29393/2019NSDUHFFRPDF
     WHTML/2019NSDUHFFR1PDFW090120.pdf; Behavioral Health Barometer, Arizona
25   Volume                                        6,                                  SAMHSA
     https://www.samhsa.gov/data/sites/default/files/reports/rpt32819/Arizona-BH-
26   Barometer_Volume6.pdf.
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1     Residents who need SUD                      41%         52%        11,416       14,478
      treatment but not MAT
2     Residents who need SUD                      21%         26%         5,847        7,239
3     treatment including MAT
      Total for SUD Cohorts                      100%        100%        27,843       27,843
4
              New and returning resident intake into ADCRR is the final patient-level
5
     characteristic associated with healthcare service demand used in this analysis and are based
6
     on ADCRR historical trends 40 and industry literature. 41
7
      New Intake Type                                                     Literature / Data
8                                                                              Review
      New and returning resident intakes                                   12,200 – 18,500
9     New and returning residents with potential psychiatrist-              2,762 – 3,875
10    prescribed medication at intake

11                   iii.   What types of clinical services do ADCRR residents require from
                            staff in various clinical classifications?
12
              In this analysis, we estimate the demands for different types of healthcare services
13
     that residents in various cohorts require based on historical utilization data and external
14
     benchmarks. Notably while documents with ADC utilization data were reviewed as part
15
     of this analysis, they were not used to support projections of resident healthcare demand in
16
     this model. As a healthcare system with a fixed number of staff, as is the case with ADC
17
     via its contract with Centurion, the amount of resident healthcare demand that can be met
18
     by those limited staff are constrained by the fixed ceiling of those resources’ capacity to
19
     provide care for patients. Actual healthcare demand may be artificially suppressed in
20

21
     40     Arizona      Dept.     of    Corrections     -    Corrections      at    a   Glance,
22   https://corrections.az.gov/reports-documents/reports/corrections-glance
     41 Based on (a) estimated percentage range in any psychiatry care in the past year based
23   on cohort estimates above; and (b) estimated percentage range of patients with recent
24   history of mental illness and with recent history of any psychiatrist-prescribed medication,
     from: Key Substance Use and Mental Health Indicators in the United States: Results from
25   the 2019 National Survey on Drug Use and Health,
     https://www.samhsa.gov/data/sites/default/files/reports/rpt29393/2019NSDUHFFRPDF
26   WHTML/2019NSDUHFFR1PDFW090120.pdf.
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 1 settings where resident demand exceeds the capacity for the available clinicians to meet

 2 the that demand.

 3            Distinguishing between various clinical service types supports quantifying

 4 healthcare service demand and the supply of clinicians required to meet that demand.
 5 Different resident cohorts require different types and quantities of clinical services.

 6            Different clinicians can provide or support different types of clinical services. Using

 7 data on demand for various services helps estimate the number of clinicians required with

 8 various licensure requirements based on the demands for different types of healthcare

 9 services that residents in various cohorts require.

10            Understanding the volume of different services required by residents in each cohort

11 helps determine the staff mix needed to deliver those services, as different types of service

12 are delivered by different types of staff with different scopes of practice. Once we
13 accumulate the number of different types of services required by all the resident cohorts,

14 we can later calculate the total number of staff required to meet the overall healthcare

15 service demand across various healthcare settings.

16            Because clinician throughput per day varies by clinician type and service type (e.g.,

17 the number of outpatient mental health visits a full-time mental health clinician can provide

18 in one day vs. the number of mental health precaution rounds the same clinician can attend),
19 understanding the types of services each clinician can provide and the daily throughput

20 each FTE can deliver helps us understand the clinical capacity of each provider type. This

21 expected daily or annual capacity for each clinical classification among the various clinical

22 service event types can be compared to the expected daily or annual patient demand for
23 services of various types to arrive at an expected staffing level required to meet the needs

24 of the ADCRR resident population.
25            Services included and separately evaluated in in this analysis have:

26

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 1            a significant number of clinical service events in ADCRR locations (e.g., >100

 2            annually at any location);

 3            clinician licensure and scope of practice requirements that are different than for

 4            other service types;

 5            daily throughput characteristics (e.g., how many clinical service events a clinician

 6            can attend each day) that are materially different than other service types; and

 7            readily distinguishable characteristics in the available internal and external data

 8            sources that differentiate the service clinical service events from one another.

 9            The following service types are used for this analysis to describe the various types

10 of clinical service events clinicians have with ADCRR residents. In addition, each clinical
11 service event requires time from one or more licensed clinicians with a specified licensure

12 or scope of practice. Each of these services may be delivered by a team of providers, and
13 therefore a clinical service event with a resident may involve more than one clinician. Also,

14 the various clinical service events including in this analysis may have different units of

15 measure (e.g., visit, specimen, bed day), which are included below with each service type

16 description. This list is intended to (a) reflect virtually all the healthcare services provided
17 in ADCRR state prisons and (b) align with ADCRR policy requirements, scope of practice

18 standards, community practice, and standard healthcare utilization categories.
19            Primary Care

20                 o Health Needs Requests Review/Triage: RN 42

21
     42 While ADC policy allows an LPN to review and triage HNRs or evaluate patient care
22   needs, scope of practice standards suggest that RNs are more appropriate for this role. For
     example, an RN can make a nursing diagnosis and can “Use critical thinking and nursing
23   judgment to analyze client assessment data to: a. Make independent nursing decisions and
24   formulate nursing diagnoses; and b. Determine the clinical implications of client signs,
     symptoms, and changes, as either expected, unexpected, or emergent situations”, whereas
25   a LPN cannot. See Arizona State Board of Nursing - Questions by License Type
     https://www.azbn.gov/scope-of-practice/faqs; COMPARISON AND RN AND LPN
26   RELATED        TO      SCOPE ARIZONA STATE                 BOARD OF             NURSING
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1                  o Unplanned Episodic Nursing Care Visits: RN

2                  o Unplanned Episodic PCP Care Visits (including follow-up): MA; MD, DO,

3                     NP or PA

4                  o Planned Chronic Nursing Care Visits: RN

5                  o Planned Chronic PCP Care Visits: MA; MD, DO, NP or PA

6             SNU and IPC Care

7                  o PCP Visits: MD, DO, NP or PA

8                  o Nursing Care: RN; LPN; Nursing Assistant or PCT

9             Mental Health Care (outpatient and inpatient)

10                 o Psychiatrist Visits: MD, DO or NP

11                 o Mental Health Clinician Visits: Psychologist, LCSW or other mental health

12                    clinician with an advanced degree

13                 o Mental Health Group Visits; Isolation Welfare Checks and MH Precaution

14                    Watch Contacts: 43 Psychologist, LCSW or other mental health clinician with

15                    an advanced degree 44

16
     https://www.azbn.gov/sites/default/files/education/student/12-comparison-of-rn-and-lpn-
17   standards-related-to-scope.pdf.
     43 Based on Zoom interviews with Pablo Stewart, M.D. on 8/23/2021 and 9/20/2021, and

18   based on the court’s orders in Dkt. 3518 and 3861, rounds for suicide precaution watch are
     expected to be a minimum of 10 minutes of mental health clinician time per contact. Also,
19   based on Zoom interviews with Pablo Stewart, M.D. on 8/23/2021 and 9/20/2021, and
     based on guidance at American Psychological Association - Psychotherapy: Understanding
20
     group therapy, https://www.apa.org/topics/psychotherapy/group-therapy, mental health
21   group sessions should run for approximately one hour and on average involve six
     participants. When estimating throughput for mental health clinicians, these activities are
22   expected to be approximately equivalent in duration on a per-patient basis (i.e.,
     approximately 10 minutes of mental health clinician time per patient on average as a
23   workload estimate). In addition, based on Zoom interviews with Pablo Stewart, M.D. on
     8/23/2021 and 9/20/2021, isolation welfare rounds are expected to take five to ten minutes
24
     on average including documentation, follow-up and related orders.
     44 Based on Zoom interviews with Pablo Stewart, M.D. on 8/23/2021 and 9/20/2021, and
25
     despite current ADC practices or policy BHTs are not qualified to competently perform
26   isolation watch rounds during which a patient’s medical and mental health needs are
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1                  o Mental Health Residential and Inpatient Nursing Care: RN, LPN, BHT

2             Dental Care

3                  o Dental Evaluation, Procedural and Restorative Visits: DA, DDS

4                  o Dental Preventive Visits: RDH, DA, DDS

5             Medication Administration

6                  o Prescription Dispenses: 45 Pharmacy Technician

7                  o Visits for Medication Administration: LPN

8             Diagnostics

9                  o Lab Specimen Processing: Lab Technician

10                 o Diagnostic Image Processing: Imaging Technician

11            Care Transitions

12                 o Intakes: RN 46 ; MA; MD, DO, NP, PA; DDS; PhD, LCSW or other mental

13                    health clinician with an advanced degree; and Psychiatrists (MD, DO or NP)

14                    when a new resident arrives requiring psychotropic medications

15                 o Transfers to Isolated Housing: PhD, LCSW or other mental health clinician

16                    with an advanced degree

17                 o Inter-Institution Transfers: RN 47

18                 o Transfers to/from Precautionary Watch: MH Clinician

19                 o Returns from Specialty/Hospital Care: RN 48

20
     assessed and evaluated. In addition, BHTs are not qualified to competently lead group
21   sessions for patients with mental illness.
     45 Medications prescribed to ADC residents appear to be filled from a central location and

22   shipped to each ADC location. I have been told to assume a pharmacy technician, or
     “inventory controller”, appears to (a) receive these prescriptions locally, (b) process their
23   inventory tracking per policy and regulatory guidelines related to physical handling of
24   prescribed medicines, and (c) dispense them to nursing staff for their later administration
     or distribution to patients.
     46 See supra note 42.
25
     47 Id.
26   48 Id.


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 1            Note that only clinical staff providing direct patient care are included in this

 2 analysis. The following staff and services are not included in this analysis:

 3            Headquarters and regional staffing

 4            Administrative, supervisory and executive staffing

 5            Staffing for non-clinical support functions, including but not limited to human

 6            resources, finance, information technology, data analytics, facilities maintenance,

 7            legal, compliance, legislative, communications, custody/guarding, transportation,

 8            dietary, non-pharmacy inventory, and discharge/release planning

 9            Public health staffing

10            Training staffing

11            Staffing for subcontracted onsite specialty or ancillary services (e.g., audiology,

12            optometry) provided by licensed or certified specialists not regularly employed as

13            part of Centurion’s contract with ADCRR

14            Staffing for healthcare services provided offsite or outside the secure prison

15            perimeter (e.g., hospital and specialist services)

16            Looking at the catalog of healthcare services provided to ADCRR residents from

17 another perspective, the following clinical classifications are evaluated in this analysis to

18 assess the quantitative demand the various types of services each clinical classification can
19 provide. 49 Clinicians are expected to operate both within their scope of practice and ideally

20 at their highest capability within their scope (e.g., LPNs should not be diagnosing patients,

21 and physicians should not be administering medications at the pill line).

22
   49 This analysis does not address the specific clinical qualifications or competencies
23 required for the various classifications other than valid licensure.              Competitive
24 compensation   and   adequate  recruitment    procedures  to  attract and screen   appropriate
   candidates are required to ensure all locations attract, screen and retain clinical staff at the
25 levels described in this analysis (e.g., see recommendations from Advisory Board Report
   “Arizona Department of Corrections Staffing and Retention Assessment” Document 2940-
26 1 Filed 07/23/18).

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1             PA, NP, DO or MD license required 50

2                  o Unplanned Episodic PCP Care Visits

3                  o Planned Chronic PCP Care Visits

4                  o Intakes (e.g., transfers from municipal jails, parole violation, probation

5                     revocation)

6                  o IPC and SNU Rounds

7             LPN license required

8                  o Medication Administrations for general population residents (e.g., at Pill

9                     Windows)

10                 o Medication Administrations for residents in isolated housing (e.g., a cell

11                    front)

12                 o Medication Administrations for residents in IPC and SNU beds

13                 o Medication Administration for residents in MH residential beds

14                 o Medication Administration for patients in psychiatric inpatient beds or on

15                    precautionary mental health watch

16                 o Primary care team support (e.g., episodic and chronic care within LPN scope

17                    of practice)

18            RN license required

19                 o Health Needs Requests Review/Triage

20                 o Unplanned Episodic Nursing Care Visits

21

22   50  For the purpose of this analysis, scope of clinical licensure is interchangeable between
     non-psychiatric physicians (MD, DO) and APPs (NP, PA) in primary care, IPC and SNU
23   settings. Scope of licensure also is considered to be interchangeable between psychiatric
24   physicians (MD, DO) and psychiatric mental health nurse practitioners (PMHNPs).
     Supervision requirements, community standards and medical practices related to physician
25   oversight of APPs, patient complexity suitable for APPs, or appropriate physician-to-APP
     staffing ratios are not addressed in this analysis. Physician-to-APP staffing ratios in the
26   community are compared to ADC staffing data later in this analysis.
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 1                 o Planned Chronic Nursing Care Visits

 2                 o Intakes (e.g., transfers from municipal jails, parole violation, probation

 3                    revocation)

 4                 o Inter-Institution Transfers

 5                 o Returns from Specialty/Hospital Care

 6                 o Nursing care for residents in IPC beds

 7                 o Nursing care for residents in SNU beds

 8                 o Nursing care for residents in MH residential beds

 9                 o Nursing care for residents in psychiatric inpatient beds or on precautionary

10                    mental health watch

11                 o 24/7/365 RN staffing at each location

12            MA certification required 51

13                 o Supporting Unplanned Episodic PCP Care Visits

14                 o Supporting Planned Chronic PCP Care Visits

15                 o Supporting New/Returning Resident Intakes

16            PhD Psychologist or advanced degree in psychology, social work, or counseling 52

17                 o Mental health clinician visits for residents in outpatient settings (including

18                    isolated housing)

19
     51A reasonable ratio in the primary care setting is one MA supporting one PCP each,
20 excluding IPC and SNU rounding activity but including new resident intakes. For more
   on primary care teams and “teamlets”, including staffing models, see:
21
   https://www.ajmc.com/view/the-patient-centered-medical-home-in-the-veterans-health-
22 administration;      https://pcmh.ahrq.gov/sites/default/files/attachments/creating-patient-
   centered-team-based-primary-care-white-paper.pdf;
23 https://www.va.gov/vhapublications/ViewPublication.asp?pub_ID=5430
   52 For the purpose of this workload analysis, scope of practice for mental health clinicians
24 evaluating and treating patients during face-to-face visits is considered to be similar for
   both PhD-level mental health clinicians and masters level mental health clinicians with an
25 advanced degree in psychology, social work, or counseling. Note that unlicensed clinicians
   may currently perform these services. This analysis makes no judgement about the clinical
26 appropriateness of unlicensed MH staff providing care for residents with mental illness.

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1                  o Mental health clinician visits for residents in mental health residential beds

2                  o Mental health clinician visits for residents in psychiatric inpatient beds

3                  o Mental health group visits (all settings)

4                  o Transfers to isolated housing

5             DO, MD or NP license required with psychiatry board certification

6                  o Outpatient psychiatrist visits

7                  o Psychiatrist visits for residents in mental health residential beds

8                  o Psychiatrist visits for residents in psychiatric inpatient beds or precautionary

9                     mental health watch

10            DDS license required

11                 o Dental Preventive Visits

12                 o Dental Evaluation / Procedure / Restorative Visits

13            RDH license required

14                 o Supporting Dental Preventive Visits

15            DA certification required

16                 o Supporting Dental Preventive, Evaluation, Procedural and Restorative

17                    Visits

18            Pharmacy Technician certification required

19                 o Supporting Dispensed Prescriptions

20            MLT certification required

21                 o Obtaining and Processing Lab Specimens

22            MRT certification required

23                 o Obtaining and Processing Diagnostic Images

24            CNA / LNA / PCT certification required

25                 o Supporting care for patients in IPC and SNU beds

26

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 1            BHT certification required 53

 2                 o Supporting care for residents in mental health residential beds

 3                 o Supporting care residents in psychiatric inpatient beds or on precautionary

 4                    mental health watch

 5            Only clinical classifications that need to provide a significant amount of direct

 6 patient care inside the 10 ADCRR state prisons are included in this analysis. Also, as noted
 7 earlier, the following staff and services are not included in this analysis:

 8            Headquarters and regional staffing

 9            Administrative, supervisory and executive staffing

10            Staffing for non-clinical support functions, including but not limited to human

11            resources, finance, information technology, data analytics, facilities maintenance,

12            legal, compliance, legislative, communications, custody/guarding, transportation,

13            dietary, inventory, and discharge/release planning

14            Public health staffing

15            Training staffing

16            Staffing for healthcare services provided offsite or outside the secure prison

17            perimeter (e.g., hospital and specialist services)

18                   iv.    How many healthcare services are residents in various cohorts
                            expected to require from the providers in different clinical
19                          classifications, and how do these demands impact staffing needs?
20
              Tables in the following sub-sections represent estimates of expected annual rates of
21
     clinical services per person based on review of relevant data and literature. Data in these
22
     tables are based on (a) the estimated average daily proportion of the ADCRR population
23

24   53
      Based on Zoom interviews with Pablo Stewart, M.D. on 8/23/2021 and 9/20/2021, and
25 despite current ADC practices or policy, BHTs are not qualified to competently a) perform
   isolation watch rounds during which a patient’s medical and mental health needs are
26 assessed and evaluated or b) lead group sessions for patients with mental illness.

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 1 in each of the cohorts, (b) the estimated annual number of clinical services expected for

 2 each member of these cohorts, and (c) the estimated capacity (or throughput) for each

 3 clinical classification to provide each service assigned to them in to staffing model. Output

 4 in the tables represents the plausible range of the estimated total count services and
 5 providers in each respective category. Components may not add to totals due to rounding.

 6            Data on the estimated clinical services of different types expected for ADCRR

 7 residents in various cohorts were compiled based on data available from ADCRR as well

 8 as from literature on the rates of healthcare services among the U.S. general and justice-

 9 involved populations. A range of estimates are presented based on information from the

10 following sources:
11            ADCRR Policy: Annual clinical service intervals are based on requirements

12            described in ADCRR performance measures, technical manuals, court orders, or

13            stipulations. 54

14            Expert or Literature High and Low Mid-Ranges: The range was based findings in

15            various studies of both general and justice-involved populations in the U.S. Given

16            the breadth of sources reviewed and the various populations associated with the

17            studies, a cluster or midpoint of findings was used to estimate the expected rate of

18            services within each cohort grouping for ADCRR’s justice-involved population. In

19            some cases, overall range for the entire population is unadjusted for the ADCRR

20            cohort distribution, i.e., it is not weighted to the ADCRR case-mix (e.g., rates of lab

21
     54 See for example: Arizona Dept. of Corrections - Medical Services Technical Manual -
22   Updated                           June                      3,                     2021,
     https://corrections.az.gov/sites/default/files/documents/PDFs/tech_manuals/adcrr-
23   healthservicestechnicalmanual_060321.pdf; Arizona Dept. of Corrections - Medical
24   Services           Technical          Manual          -        Revised       12/24/2019,
     https://corrections.az.gov/sites/default/files/documents/PDFs/tech_manuals/adc-
25   mentalservicestechnicalmanual_042120.pdf; ADCM1607639-1607812 - Monitor Guide
     Draft Version 03-13-2020.pdf; see also Dkt. 3518, 3861, 1185, 3495.
26

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 1            and x-ray orders). Findings were supplemented by interviews conducted via Zoom

 2            with plaintiff’s correctional medical expert Todd Wilcox, M.D. on 8/26/21, 9/6/21,

 3            and 9/14/21; and with plaintiff’s correctional mental health expert Pablo Stewart,

 4            M.D. on 8/23/21 and 9/20/21.

 5            Notably while documents with ADC utilization data were reviewed as part of this

 6 analysis, they were not used to support projections of resident healthcare demand in this
 7 model. As a healthcare system with a fixed number of staff, as is the case with ADC via its

 8 contract with Centurion, the amount of resident healthcare demand that can be met by those

 9 limited staff are constrained by the fixed ceiling of those resources’ capacity to provide

10 care for patients. Actual healthcare demand may be artificially suppressed in settings
11 where resident demand exceeds the capacity for the available clinicians to meet the that

12 demand.
13            Included with these tables are various assumptions and formulas that drive expected

14 workload for each clinical classification. The following are among the more common

15 assumptions that drive the output of all the staffing models created for this analysis:

16            Cohort-level utilization range estimates: As described earlier, the previously

17            outlined cohorts are presented as a range due to some expected level of variability

18            in estimating the prevalence of healthcare conditions over the population as a whole.

19            Likewise, individual cohort member utilization estimates below are expressed as a

20            possible range, i.e., as annual “Lower Mid-Range Usage” and “Higher Mid-Range

21            Usage” averages over the population as a whole for residents in each cohort based

22            on available data, policies and literature reviewed for this analysis.

23            Overall utilization range estimates: The overall utilization for each service is the

24            product of the estimated size of each cohort and the associated annual estimated

25            average utilization per cohort member. The values for each cohort are summed to

26            arrive at a total population-wide estimate. The overall utilization ranges that are the

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1             products of these values are represented as two numbers, which also function as a

2             range:

3                  o The “Balanced Estimate” is intended to represent an overall midrange

4                      estimated utilization by blending the expected values for cohort distributions

5                      and utilization rates at the relative opposite ends of the various mid-range

6                      estimates. It is calculated as the average of the a) “Healthier Case-Mix Mid-

7                      Range” cohort count multiplied by the “Higher Mid-Range Usage”, and b)

8                      the “Sicker Case-Mix Mid-Range" cohort count multiplied by the “Lower

9                      Mid-Range Usage”.

10                 o The “High Estimate” is intended to represent the population’s overall

11                     maximum likely expected utilization, and it is the product of the “Higher

12                     Mid-Range Usage” service utilization estimate average per cohort member

13                     and the "Sicker Case-Mix Mid-Range" cohort count.

14            Available working days: Estimating total capacity for each FTE is a function of (a)

15            how many days per year one FTE is available for patient care in each classification,

16            and (b) how many clinical services of various types one FTE in each classification

17            can support each day. For the purposes of this analysis, 223 total annual working

18            days are estimated to be available for patient care in all classifications per FTE based

19            on the assumption that individual staff can provide patient care five days per week

20            except during the following days: 55

21
     55 34 days off estimated based on ADC civil service employee benefits from Arizona Dept.
22   of Corrections - CO Benefits, https://corrections.az.gov/co-benefits, plus three days off for
     continuing healthcare education CME based on an estimated 40-hour allowance every two
23   years to satisfy licensing, certification or other professional requirements, e.g., Arizona
24   Osteopathic Medical Association, Continuing Medical Education Requirements,
     https://azosteo.org/cme-requirements/; American Medical Association, Online Courses for
25   Arizona CME Requirements, https://edhub.ama-assn.org/state-cme/Arizona; Arizona
     Regulatory Board of Physician Assistants - Licensure (Renewal Opioid CME)
26   https://www.azpa.gov/Licensure/Licensure/pa-renewal-opioid-cme.
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 1                 o 10 paid holidays per year

 2                 o 12 paid vacation days per year

 3                 o 12 paid sick days per year

 4                 o 3 paid continuing healthcare education days per year 56

 5            Clinician capacity: The various models make assumptions about clinician

 6            throughput, e.g., visits per day. These estimates are presented as a range, i.e., “Low

 7            Mid-Range” and “High Mid-Range” to represent relatively lower or higher capacity

 8            daily clinician throughput expectations respectively.      Also, staff generally are

 9            available to work productively between 6 and 8 hours daily during a 8-hour shift

10            due to various constraints and requirements that are presented in a correctional

11            setting, including additional administrative and security requirements that reduce

12            their capacity to provide direct patient care. 57

13            FTE estimates: The output of the staffing model for each classification generates

14            the following figures based on the estimated service utilization and estimated

15            clinician capacity estimates outlined above and detailed below. These FTE outputs

16            are expressed as a range with the following three values (although in some cases

17            these values are based on outputs from other pieces of the staffing model, e.g., where

18            FTEs are modeled proportionately as is the case with MAs being staffed

19            proportionate to elements of the PCP model output):

20                 o The “Balanced Estimate” FTE calculation uses the “Balanced Estimate”

21                    utilization described above and applies an average of the “Low Mid-Range”

22
   56 This analysis assumes that all licensed or certified clinicians, or clinicians eligible for
23 licensure or certification, are expected to take a limited amount of time off annually for

24 ongoing professional continuing healthcare education, paid or otherwise, regardless of
   whether the licensure or certification requires continuing education as a condition for
25 credential renewal.
   57 Based on interviews with plaintiff’s correctional mental health and medical experts Drs.
26 Stewart and Wilcox on 8/23/2021, 8/26/2021, 9/6/2021, 9/14/2021, and 9/20/2021.

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 1                    and “High Mid-Range” clinician capacity figures to arrive at the FTE

 2                    estimate for the classification. This is intended to be the low mid-range FTE

 3                    estimate for the classification.

 4                 o The “High Visit Estimate” uses the “High Estimate” from the utilization

 5                    calculations and the “Low Mid-Range” clinician capacity estimate to arrive

 6                    at the expected FTEs for the classification.    This number represents the

 7                    maximum expected FTEs required to meet the population’s healthcare

 8                    demands.

 9                 o The “High Mid-Point” is the average of the “Balanced Estimate” and the

10                    “High Visit Estimate”.      This is intended to be the high mid-range FTE

11                    estimate for the classification.

12            Healthcare positions providing administrative support, oversight, quality assurance,

13 supervision and leadership are excluded from the model, including positions not staffed at

14 prison locations (e.g., “Regional” or “Headquarters” staff) and local supervisory or

15 management positions not providing face-to-face direct patient care as their primary duty.

16 However, clinicians in these supervisory positions may occasionally provide support in
17 locations at which there are staffing shortages due to vacancies. In addition, this analysis

18 does not attempt to attribute any efficiencies or inefficiencies to providers delivering
19 healthcare via video link (e.g., telemedicine, telepsychiatry). No judgement is rendered in

20 this report on the appropriateness or quality of care provided during a video visit.

21            The following sub-sections are dedicated to the following categories of healthcare

22 provider services: (1) Primary Care Provider Services, (2) Psychiatrist Service, (3) Mental
23 Health Clinician Services, (4) RN Service, (5) LPN Services, (6) MA Services, (7)

24 NA/PCT Services, (8) BHT Services, (9) Pharmacy Technician Services, (10) Laboratory
25 Technician Services, (11) Medical Radiologic Technologist Services, and (12) Dentist,

26 Dental Assistant, & RDH Services.

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 1                  1.     Primary Care Provider (“PCP”) Services

 2            Primary care in the community is delivered in a team-based, patient-centered

 3 approach. This means that a core group of consistent providers deliver healthcare services

 4 to a relatively stable panel of patients. The staffing model components associated with
 5 primary care are built based on these community standard practices. A feature of the

 6 primary care team model is assignment of nursing and paraprofessional staffing (e.g., RN,
                                                                                      58
 7 LPN, MA, pharmacy) directly proportionate to the number of primary care providers.

 8            Estimated demand outlined in the table below for primary care provider services

 9 includes unplanned episodic care, planned chronic care follow-up, follow-up from hospital

10 or specialty services, intakes (e.g., transfers from municipal jails, parole violation,
11 probation revocation), and IPC or SNU patient rounds. Total estimated PCP visits per year

12 are calculated using previously presented cohort counts.
    PCP Staffing Model                        Policy / Literature      Total Estimated PCP
13                                                  Review:              Visits per Year
                                              Est. PCP Visits per
14                                                  Year 59
15
     58 For more on primary care teams and “teamlets”, including staffing models, see: AJMC -
16
     The Patient-Centered Medical Home in the Veterans Health Administration (July 13, 2013)
17   https://www.ajmc.com/view/the-patient-centered-medical-home-in-the-veterans-health-
     administration; White Paper - Creating Patient-centered Team-based Primary Care by
18   Agency         for    Healthcare       Research      and     Quality      (March      2016),
     https://pcmh.ahrq.gov/sites/default/files/attachments/creating-patient-centered-team-
19   based-primary-care-white-paper.pdf, Department of Veterans Affairs - Patent Centered
     Management         Module     (PCMM)        for Primary      Care     (June     20,   2017)
20
     https://www.va.gov/vhapublications/ViewPublication.asp?pub_ID=5430.
     59 Based on Zoom interviews with plaintiff’s correctional medical expert Todd Wilcox,
21
     M.D., on 8/26/21, 9/6/21, and 9/14/21 and Primary Care in the United States - A Chartbook
22   on       Facts      and      Statistics      (February     2021),      https://www.graham-
     center.org/content/dam/rgc/documents/publications-
23   reports/reports/PrimaryCareChartbook2021.pdf; National Institute of Corrections -
24   Correctional Health Care: Addressing the Needs of Elderly, Chronically Ill, and Terminally
     Ill Inmates,
25   https://nicic.gov/correctional-health-care-addressing-needs-elderly-chronically-ill-and-
     terminally-ill-inmates;    National Ambulatory Medical Care Survey: 2018 National
26   Summary Tables, https://www.cdc.gov/nchs/data/ahcd/namcs_summary/2018-na mc s-
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 1    Medical Cohorts                       Lower     Higher    Balanced     High
                                             Mid-      Mid-     Estimate    Estimate
 2                                          Range     Range
                                            Usage     Usage
 3
      Residents with no chronic               2         3         34,734     39,175
 4    conditions or special requirements
      (i.e., episodic medical care only)
 5    Residents with 1 stable chronic           3        4        20,186     21,161
      medical condition or age 50+
 6    Residents with 2 chronic medical          5        6        27,147     35,082
 7    conditions or with restricted
      physical capacity requiring
 8    accommodation and of any age
      Residents with 3+ chronic medical         7       12        28,400     40,094
 9    conditions or severe physical illness
      with high medical usage
10
      characteristics (e.g., HIV, advanced
11    age, dialysis) or limited physical
      capacity / stamina
12    SNU Residents                            52        52       8,687       8,687
      IPC Residents                           122       156      19,351       21,718
13
      Subtotal PCP Visits for Medical Cohorts                    138,505     165,916
14
      SUD Cohort 60
15    Residents who may require only          0          0
      education but not SUD treatment
16    Residents who need SUD treatment        0          0
17    but not MAT
      Residents who need SUD treatment        4          6
18    including MAT
      Subtotal Visits for SUD Cohorts                             32,019     43,435
19
      New Resident Intakes                                        15,350     18,500
20

21    Grand Total PCP Visit Estimate                             185,874     227,852

22
23 web-tables-508.pdf
   60 Based on Office of the Assistant Secretary for Planning and Evaluation - Review of
24
   Medication - Assisted Treatment Guidelines and Measures for Opioid and Alcohol Use
25 (Nov. 24, 2015), https://aspe.hhs.gov/reports/review-medication-assisted-treatment -
   guidelines-measures-opioid-alcohol-use-0 and Zoom interviews with plaintiff’s
26 correctional medical expert Todd Wilcox, M.D., on 8/26/2021, 9/6/2021, and 9/14/2021

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 1    PCP Capacity                                                           Low          High
 2                                                                           Mid-         Mid-

 3                                                                          Range        Range
      Work Days (net of vacation, sick, holidays, continuing                 223           223
 4
      medical education (“CME”)) per PCP
 5
      Estimated Visits per Day per PCP 61                                     10           12
 6
      Estimated Visit Capacity per Year Per PCP                             2,230         2,676
 7
      Estimated PCP FTEs Required                           Balanced        High       High Mid-
 8
                                                              Est.        Visit Est.     Point
 9
                                                                                        Estimate
10
                                                               76            102           89
11

12                  2.     Psychiatrist Services
13            Estimated demand outlined in the table below for psychiatrist services includes
14 unplanned episodic outpatient psychiatric care, planned outpatient follow-up, visits for

15 residents in mental health residential beds, and visits to residents in psychiatric inpatient

16 beds or precautionary mental health watch. ADCRR policies for psychiatrist visit intervals
17 per resident represent absolute minimums, and patients on average may require more

18 frequent visits than are stipulated in policy, as a patient’s actual psychiatry needs may
19 exceed the minimum required visit timeframes. Total estimated psychiatrist visits per year

20 are calculated using previously presented cohort counts.

21    Psychiatrist Staffing Model                   Policy / Literature        Total Estimated
                                                         Review:             Psychiatrist Visits /
22                                                   Est. Psychiatrist               Year
23                                                   Visits / Year 62

24   61
      Net five to six working hours per day and on average 30 minutes per encounter based on
25 Zoom interviews with plaintiff’s correctional medical expert Todd Wilcox, M.D., on
   8/26/2021, 9/6/2021, and 9/14/2021
26 62 Based on ADC policies, the court’s orders in this case, and Zoom interviews with

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 1    Mental Health Cohort                        Lower    Higher    Balanced  High
                                                   Mid-     Mid-     Estimate Estimate
 2                                                Range    Range
                                                  Usage    Usage
 3
      Residents with no current mental              0        0          0         0
 4    illness in isolated housing
      Residents with no current mental              0         0         0         0
 5    illness not in isolated housing
      Residents with current                        4         6       5,847     5,012
 6    mild/moderate mental illness in
 7    isolated housing
      Residents with current                        4         6       23,945   21,718
 8    mild/moderate mental illness not in
      isolated housing
 9    Residents with serious mental illness         4        12       8,353    20,047
      in isolated housing
10
      Residents with serious mental illness         4        12       32,521   74,842
11    not in isolated housing
      Patients in residential mental health         6        12       5,012     6,682
12    care
      Patients in psychiatric inpatient care       12        52       5,346     8,687
13
      or precautionary mental health
14    watch
      Subtotal Psychiatry Visits for MH Cohorts                       81,023   136,988
15
      Total Intakes for new residents with psychiatrist-prescribed    2,762     3,875
16    medication at intake
17
      Grand Total Psychiatrist Visit Estimate                         83,785   140,863
18
      Psychiatrist Capacity                                           Low       High
19
                                                                      Mid-      Mid-
20                                                                    Range    Range
21    Work Days (net of vacation, sick, holidays, CME) per             223      223
22    Psychiatrist

23    Visits per Day per Psychiatrist 63                                8        12

24
   plaintiff’s correctional mental health expert Pablo Stewart, M.D. on 8/23/2021 and
25 9/20/2021.
   63 Net 5-6 working hours per day and minimum 30 minutes per visit, with likely average
26 30-45 minutes per visit, based on the court’s orders in Dkt. 3518 and 3861 and Zoom

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1     Visit Capacity per Year Per Psychiatrist                              1,784        2,676
2
      Estimated Psychiatrist FTEs Required                 Balanced       High       High Mid-
3                                                            Est.       Visit Est.     Point
                                                                                     Estimate
4                                                              38           79          58
5
                    3.     Mental Health (“MH”) Clinician Services
6
              Estimated demand outlined in the table below for mental health clinician services
7
     includes unplanned episodic MH care, planned outpatient MH follow-up, visits for
8
     residents in mental health residential beds, isolation welfare checks, visits for residents in
9
     psychiatric inpatient beds, contacts with patients on precautionary mental health watch,
10
     and MH support for transitions in care. MH Clinicians also are responsible for leading
11
     mental health group visits and SUD group visits.
12
              ADCRR policies for MH clinician visit intervals per resident represent absolute
13
     minimums, and patients on average may require more frequent visits than are stipulated in
14
     policy, as a patient’s actual needs for a mental health clinician may exceed the minimum
15
     required visit timeframes. Total estimated MH clinician visits or contacts as part of group
16
     therapy, isolation welfare checks and precautionary mental health watch are calculated
17
     using previously presented cohort counts. 64
18
              For the purpose of this analysis, MH group visits are categorized with MH clinician
19
     watch contacts because of the relatively similar impact on annual MH clinician workload
20

21
     interviews with plaintiff’s correctional mental health expert Pablo Stewart, M.D. on
22   8/23/2021 and 9/20/2021.
     64 Based on Zoom interviews with Pablo Stewart, M.D. on 8/23/2021 and 9/20/2021, and
23   despite current ADC practices or policy, BHTs are not qualified within their scope of
24   practice to competently and independently perform isolation watch rounds during which a
     patient’s medical and mental health needs are assessed and evaluated. In addition, BHTs
25   are not qualified within their scope of practice to competently and independently lead group
     sessions for patients with mental illness. Staff with advanced degrees or clinical licensure
26   (e.g., LCSW, RN) command a scope of practice most appropriate to deliver these services.
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1 per resident.       This analysis assumes MH clinician watch contacts (for residents in

2 precautionary mental health watch) are expected to take at least 10 minutes per contact. In

3 addition, this analysis assumes MH welfare contacts for residents in isolated housing (i.e.,

4 who are in in maximum security, death row, SMU, protective custody or detention cells)
5 are expected to take 5 to 10 minutes per contact. The analysis also assumes MH group

6 visits are expected to take one hour and may have on average six participants, i.e., 10
                                                        65
7 minutes of contact time on average per participant.

8     MH Clinician Staffing Model               Policy / Literature    Total Estimated MH
                                                     Review             Clinician Visits /
9                                               Est. MH Clinician             Year
10                                                Visits / Year
      Mental Health Cohort                      Lower       Higher     Balanced     High
11                                               Mid-        Mid-      Estimate    Estimat
                                                Range       Range                     e
12                                              Usage        Usage
      Residents with no current mental            0            0           0           0
13
      illness in isolated housing
14    Residents with no current mental            0            0           0           0
      illness not in isolated housing
15    Residents with current                     12           52        41,208      43,435
      mild/moderate mental illness in
16    isolated housing
17    Residents with current                      4           12        40,651      43,435
      mild/moderate mental illness not in
18    isolated housing
      Residents with serious mental illness      12           52        31,741      86,870
19    in isolated housing
      Residents with serious mental illness      12           52        124,291    324,315
20
      not in isolated housing
21    Patients in residential mental health      12           52        17,820      28,957
      care
22    Patients in psychiatric inpatient care     52           365       34,832      60,976
      or precautionary mental health
23    watch
24    Subtotal MH Clinician Visits for MH Cohorts                       290,542    587,988

25

26   65   See supra n.40.
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1     MH Group and MH Precaution Watch         “Policy / Literature   Total Estimated MH
      Contacts                                       Review           Group Participants +
2                                                Est. MH Group        MH Watch Contacts
                                               Participants + MH
3
                                                Watch Contacts”
4     Mental Health Cohort                     Lower       Higher     Balanced  High
5                                               Mid-        Mid-      Estimate Estimate
                                               Range       Range
6                                              Usage       Usage
      Residents with no current mental           0           0           0            0
7     illness in isolated housing
      Residents with no current mental           0         0             0            0
8
      illness not in isolated housing
9     Residents with current                     0         0             0            0
      mild/moderate mental illness in
10    isolated housing
      Residents with current                     0         0             0            0
11    mild/moderate mental illness not in
      isolated housing
12
      Residents with serious mental illness     156      156          195,458      260,610
13    in isolated housing
      Residents with serious mental illness     52        52          249,028      324,315
14    not in isolated housing
      Patients in residential mental health     52        52           28,957       28,957
15    care
16    Patients in psychiatric inpatient care    365      365           60,976       60,976
      or precautionary mental health
17    watch
      Subtotal MH Group Visits and MH Clinician Watch Contacts
18    for MH Cohorts                                                  534,419      674,859
19
      MH Isolation Welfare    Policy / Literature       Total Estimated MH Isolation
20    Contacts                     Review                      Welfare Rounds
                              Est. MH Isolation
21                             Welfare Rounds

22
      Mental Health Cohort   Lower        Higher         Balanced         High Estimate
23                            Mid-         Mid-          Estimate
                             Range        Range
24                           Usage        Usage
25    Residents with no        52           52            152,023               173,740
      current mental
26

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 1    illness in isolated
      housing
 2    Residents with no          0         0                0                 0
 3    current mental
      illness not in isolated
 4    housing
      Residents with             52        52            57,913             72,392
 5    current
      mild/moderate
 6    mental illness in
 7    isolated housing
      Residents with             0         0                0                 0
 8    current
      mild/moderate
 9    mental illness not in
      isolated housing
10
      Residents with            156       156           195,458            260,610
11    serious mental illness
      in isolated housing
12    Residents with             0         0                0                 0
      serious mental illness
13    not in isolated
14    housing
      Patients in                0         0                0                 0
15    residential mental
      health care
16    Patients in                0         0                0                 0
      psychiatric inpatient
17
      care or
18    precautionary
      mental health watch
19    Subtotal MH Group Visits and MH Clinician         405,394            506,743
      Watch Contacts for MH Cohorts
20
      SUD Cohort 66                           Policy / Literature   Total Estimated SUD
21
                                                    Review           Group Visits / Year
22                                             Est. SUD Group
                                                Visits / Year
23
     66Based on Office of the Assistant Secretary for Planning and Evaluation - Review of
24
   Medication - Assisted Treatment Guidelines and Measures for Opioid and Alcohol Use
25 (Nov. 24, 2015), https://aspe.hhs.gov/reports/review-medication-assisted-treatment -
   guidelines-measures-opioid-alcohol-use-0, and Zoom interviews with plaintiff’s
26 correctional medical expert Todd Wilcox, M.D., on 8/26/2021, 9/6/2021, and 9/14/2021

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 1                                                Lower           Higher      Balanced        High
                                                   Mid-            Mid-       Estimate       Estimate
 2                                                Range           Range
                                                  Usage           Usage
 3
      Residents who may require only                0                0             0                0
 4    education but not SUD treatment
      Residents who need SUD treatment               52            156       1,266,857 2,258,624
 5    but not MAT
      Residents who need SUD treatment               52            156           644,287     1,129,312
 6    including MAT
 7    Subtotal Visits for SUD Cohorts                                        1,911,144 3,387,936

 8    Total Intakes                                              Balanced            High Estimate
                                                                 Estimate
 9                                                                15,350                   18,500
10
      Grand Total MH Clinician Visit Estimate                   305,892                  606,488
11    Grand Total MH Group Visits + Precautionary              2,445,562                4,062,795
      MH Watch Contact Estimate
12    Grand Total MH Isolation Welfare MH Contact                 405,394               506,743
      Estimate
13

14    MH Clinician            MH Clinician Visits         Patients in Groups +           Isolation
      Capacity                                              Watch Contacts                Welfare
15                                                                                       Contacts
                               Low         High             Low          High          Low      High
16                            Mid-         Mid-            Mid-          Mid-          Mid- Mid-
                              Range        Range           Range         Range         Range Rang
17                                                                                                e
18    Work Days (net of         223         223             223             223         223     223
      vacation, sick,
19    holidays, CME) per
      MH Clinician
20    Number of Visits,          8           12             50              60          50          120
      Watch/Welfare
21
      Contacts, or
22    Patients
      Participating in
23    Groups per MH
      Clinician per Day 67
24
     67
     Net five to six working hours per day and minimum average 30-45 minutes per visit,
25
   average of at least ten minutes per mental health precaution watch, average of at least ten
26 minutes per participant for groups based on average six per group one hour per group,

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 1    Capacity per Year          1,784        2,676       11,150         13,380     11,150 26,76
      Per MH Clinician                                                                       0
 2
      Estimated MH Clinician FTEs Required                     Balanced       High             High
 3
                                                                 Est.       Visit Est.         Mid-
 4                                                                                             Point
                                                                                              Estimate
 5                                                                 358            750           554
 6                         4.     Registered Nurse (“RN”) Services

 7            RN workload and FTEs in this model are driven by several factors:

 8                  Support for specialized healthcare beds, e.g., ICP, SNU, MH residential,

 9                  psychiatric inpatient and MH precautionary watch;

10                  24-hour daily coverage of an institution’s healthcare needs, including round-

11                  the-clock availability for urgent and emergency care needs; and

12                  Support for the primary care team, including intakes, HNR triage, episodic

13                  nursing care, nursing care for patients with chronic conditions, and review of

14                  patients returning from specialty or hospital care. As described earlier,

15                  primary care in the community is delivered in a team-based, patient-centered

16                  approach. This means that a core group of consistent providers deliver

17                  healthcare services to a relatively stable panel of patients. The staffing model

18                  components associated with primary care are built based on these communit y

19                  standard practices. A feature of the primary care team model is assignment

20                  of nursing and paraprofessional staffing (e.g., RN, LPN, MA, pharmacy)
                    directly proportionate to the number of primary care providers.      68
21

22 average of five to ten minutes per isolation welfare encounter; based on the court’s orders
   in Dkt. 3518 and 3861 and Zoom interviews with plaintiff’s correctional mental health
23 expert Pablo Stewart, M.D. on 8/23/2021 and 9/20/2021.
   68 For more on primary care teams and “teamlets”, including staffing models, see AJMC -
24
   The Patient-Centered Medical Home in the Veterans Health Administration (July 13,
25 2013),
   https://www.ajmc.com/view/the-patient-centered-medical-home-in-the-veterans-health-
26 administration; White Paper - Creating Patient-centered Team-based Primary Care by

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 1            In light of the significant primary workload associated with HNR triage, intakes,

 2 episodic care, chronic care, case management and other correctional healthcare nursing

 3 duties, 69 the model allocates RN staff at a ratio of 2 RNs to each PCP (excluding allocations

 4 for specialized healthcare beds and 24-hour nursing coverage at each location, which are
 5 addressed separately in the RN staffing model).

 6    RN Staffing Model                        Policy / Literature     Total Estimated Hours
                                                    Review                   per Year 70
 7                                             Hours per Resident
                                                      Day
 8    Medical Cohort                           Lower       Higher     Balanced       High
                                                Mid-        Mid-      Estimate      Estimate
 9
                                               Range       Range
10                                             Usage       Usage

11

12    SNU Residents                               0.2         0.4       18,293       24,390
      IPC Residents                               0.8         2.4       81,302      121,952
13
      Subtotal Hours for Medical Cohorts                                99,594      146,343
14
   Agency        for     Healthcare       Research     and       Quality     (March     2016),
15 https://pcmh.ahrq.gov/sites/default/files/attachments/creating-patient-centered-team-
   based-primary-care-white-paper.pdf; Department of Veterans Affairs - Patent Centered
16
   Management        Module      (PCMM)       for Primary        Care    (June    20,   2017),
17 https://www.va.gov/vhapublications/ViewPublication.asp?pub_ID=5430.
   69 For examples, see NCCHC - Correctional Nursing Practice: What you Need to Know

18 https://www.ncchc.org/cnp-intro and Department of Nursing - What to Expect as a
   Correctional Care Nurse and How to Avoid Burnout in Challenging Settings
19 https://nursing.usc.edu/blog/correctional-nurse-career/.
   70 Estimates for RN hours per resident day in SNU, IPC, MH residential, PIP and MH
20
   precautionary watch units based on: Carol L. Howe, Staffing Ratios in Nursing Homes,
21 Arizona Geriatrics Society Vol. 15, No. 2 (“Staffing Ratios in Nursing Homes”); National
   Central for Health Statistics - Vital and Health Statistics (February 2019) Long-term Care
22 Providers      and     Services     Users     in   the      United    States,    2015-2016,
   https://www.cdc.gov/nchs/data/series/sr_03/sr03_43-508.pdf; Health Serv Insights (June
23 29, 2020) Appropriate Nurse Staffing Levels for U.S. Nursing Homes,

24 https://www.ncbi.nlm.nih.gov/pmc/articles/PMC7328494/; PSNet - Nursing and Patient
   Safety (Updated March 2021), https://psnet.ahrq.gov/primer/nursing-and-patient-safety;
25 National Central for Health Statistics - Vital and Health Statistics (February 2019) Long-
   term Care Providers and Services Users in the United States, 2015-2016,
26 https://www.cdc.gov/nchs/data/series/sr_03/sr03_43-508.pdf.

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1
      Mental Health Cohort
2     Patients in residential mental           0.2           0.4      60,976           81,302
3     health care
      Patients in psychiatric inpatient        0.8           2.4      97,562          146,343
4     care or precautionary mental
      health watch
5     Subtotal Hours for Mental Health Cohorts                        158,538         227,644
6     RN Capacity                                                         Low           High
7                                                                        Mid-           Mid-
                                                                         Range          Range
8     Work Days (net of vacation, sick, holidays, CME) per RN             223            223
      Net Working Hours per Day per RN                                     6              8
9     Hours Capacity per Year Per RN                                     1,338          1,784
10
      RN FTEs                                     Balanced Est.    High Est.      High Mid-
11                                                                              Point Estimate
      Est. Subtotal RN FTEs Required for               165            280            222
12    SNU, IPC, Residential MH and
      PIP/Watch
13

14    Primary Care Allocations (for           Balanced Est. High Est.                High Mid-
      determining RN FTEs associated with the                                          Point
15    Primary Care Team)                                                             Estimate
      Estimated Total PCP FTEs Required            76         102                       89
16    Est PCP FTEs for SNU/IPC Patients            -11         -14                      -13
      Net PCPs for Primary Care (including         64          89                       76
17
      SUD) and intakes
18
      Subtotal FTEs with RN:PCP Staffing 2:1 for Primary Care 71               129 177 153
19
      Subtotal 1 RN per watch per facility (24/7/365) dedicated to urgent /     49     49   49
20    emergent care, including adjustment for weekends and relief factor 72
21
     71  2:1 RN:PCP ratio is for primary care nursing, specifically to provide coverage for HNR
22   triage, RN FTF visits for episodic or chronic care, and reviews of patients returning from
     specialty or hospital care; new and returning resident intake workload matches PCP
23   workload, i.e., RNs will see as many intakes as PCPs; RN FTEs are allocated separately
24   for specialized beds and are accounted for as part of medical and mental health cohorts in
     the prior table
     72 Required per policy (for example, see CGAR01); also provides primary coverage for
25
     urgent and emergent care; secondary duty includes healthcare review of residents
26   transferring to and from other locations.
                                                -50-
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 1
      Total Estimated RN FTEs                                                        343 506 424
 2

 3                         5.     Licensed Practical Nurse (“LPN”) Services
 4
              LPN workload and FTEs in this model are driven by several factors:
 5
                    Support for specialized healthcare beds, e.g., ICP, SNU, MH residential,
 6
                    psychiatric inpatient and MH precautionary watch;
 7
                    Medication administration, including for:
 8
                        o General population residents (e.g., at Pill Windows)
 9
                        o Residents in isolated housing (e.g., at cell front)
10
                        o Residents in IPC and SNU beds
11
                        o Residents in MH residential beds
12
                        o Patients in psychiatric inpatient beds or on precautionary mental
13
                           health watch
14
                    Support for the primary care team, including episodic, chronic, and urgent
15
                    care within the LPN scope of practice. As described earlier, primary care in
16
                    the community is delivered in a team-based, patient-centered approach. This
17
                    means that a core group of consistent providers deliver healthcare services to
18
                    a relatively stable panel of patients.      The staffing model components
19
                    associated with primary care are built based on these community standard
20
                    practices. A feature of the primary care team model is assignment of nursing
21
                    and paraprofessional staffing (e.g., RN, LPN, MA, pharmacy) directly
22                                                                              73
                    proportionate to the number of primary care providers.
23
     73
      For more on primary care teams and “teamlets”, including staffing models, see AJMC -
24
   The Patient-Centered Medical Home in the Veterans Health Administration (July 13,
25 2013), https://www.ajmc.com/view/the-patient-centered-medical-home-in-the-veteran s-
   health-administration; White Paper - Creating Patient-centered Team-based Primary Care
26 by     Agency      for  Healthcare     Research     and     Quality   (March      2016),
                                                  -51-
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1             A 2:1 LPN:PCP ratio provides for support for a) full operational pill line coverage

2 for the patient panel at the A.M., noon, P.M. and HS 74 pill passes that extend beyond a

3 single 8-hour shift, plus b) primary and urgent care support between pill lines (excluding

4 allocations for specialized healthcare beds, which are addressed separately in the LPN
5 staffing model).

6     LPN Staffing Model                        Policy / Literature     Total Estimated Hours
                                                     Review                    per Year
7                                               Hours per Resident
8                                                     Day 75
      Medical Cohort                            Lower       Higher     Balanced       High
9                                                Mid-        Mid-      Estimate      Estimate
                                                Range       Range
10                                              Usage       Usage
11
      SNU Residents                                0.2        0.3        15,244      18,293
12
      IPC Residents                                0.6        1.7        58,435      86,383
13    Subtotal Hours for Medical Cohorts                                 73,680      104,676

14    Mental Health Cohort
      Patients in residential mental           0.2            0.3        50,813       60,976
15    health care
16    Patients in psychiatric inpatient        0.6            1.7        70,123      103,659
      care or precautionary mental
17    health watch
      Subtotal Hours for Mental Health Cohorts                          120,936      164,636
18
19

20
     https://pcmh.ahrq.gov/sites/default/files/attachments/creating-patient-centered-team-
21   based-primary-care-white-paper.pdf; Department of Veterans Affairs - Patent Centered
     Management       Module      (PCMM)        for Primary        Care    (June     20,    2017),
22   https://www.va.gov/vhapublications/ViewPublication.asp?pub_ID=5430.
     74 HS means: hora somni or to “take at bedtime”
23   75 Estimated LPN hours per resident day based on: Staffing Ratios in Nursing Homes,

24   supra note 68; National Central for Health Statistics - Vital and Health Statistics (February
     2019) Long-term Care Providers and Services Users in the United States, 2015-2016,
25   https://www.cdc.gov/nchs/data/series/sr_03/sr03_43-508.pdf; Health Serv Insights (June
     29, 2020) Appropriate Nurse Staffing Levels for U.S. Nursing Homes,
26   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC7328494/.
                                                  -52-
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 1    LPN Capacity                                                        Low         High
                                                                         Mid-         Mid-
 2                                                                       Range        Range
 3    Work Days (net of vacation, sick, holidays, CME) per LPN            223          223
      Net Working Hours per Day per LPN                                    6            8
 4    Hours Capacity per Year Per LPN                                    1,338        1,784

 5    LPN FTEs                                            Balanced    High Est.   High Mid-
                                                            Est.                    Point
 6                                                                                Estimate
 7    Est. Subtotal LPN FTEs Required for SNU,              125          201         163
      IPC, Residential MH and PIP/Watch
 8
      Primary Care Allocations (for determining LPN      Balanced     High Est.   High Mid-
 9    FTEs associated with the Primary Care Team)          Est.                     Point
                                                                                  Estimate
10
      Estimated Total PCP FTEs Required                       76         102         89
11    Est PCP FTEs for SNU/IPC Patients and                  -18         -22         -20
      Intakes
12    Net PCPs for Primary Care (including SUD)              58          80           69
13
      Subtotal FTEs with LPN:PCP Staffing 2:1 for           116          160          138
14    Primary Care 76

15    Total Estimated LPN FTEs                              241          362          301

16
                    6.     Medical Assistant (“MA”) Services
17
              MA workload is driven exclusively by PCP staffing, and in the staffing model for
18
     this analysis, the MA is assumed to only support PCPs in the primary care clinic and during
19
     intakes. The primary duties of the MA are to support unplanned episodic PCP visits,
20
     planned chronic care PCP visits, new and returning resident intakes with PCPs, and any
21
     other face-to-face visits either scheduled or unscheduled and accepted as a “walk-in” with
22
     PCPs.
23
     76LPN ratio only is for primary care; LPNs are not required to support new or returning
24
   resident intakes; a separate LPN allocation is already calculated for their support of
25 specialized bed needs in the previous table; a 2:1 LPN:PCP ratio provides for support for
   a) full operational pill line coverage for the patient panel at the AM, noon, PM and HS pill
26 passes plus b) primary and urgent care support between pill lines

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 1            This workload model is consistent with how primary care in the community is

 2 delivered, i.e., in a team-based, patient-centered approach. This means that a core group

 3 of consistent providers deliver healthcare services to a relatively stable panel of patients.

 4 The staffing model components in this analysis associated with primary care are
 5 constructed based on these community standard practices. A feature of the primary care

 6 team model is assignment of nursing and paraprofessional staffing (e.g., RN, LPN, MA,
                                                                                    77
 7 pharmacy) directly proportionate to the number of primary care providers.

 8    MA Staffing Model                                    Balanced      High            High Mid-
                                                             Est.      Visit Est.          Point
 9                                                                                       Estimate
10    Estimated Total PCP FTEs Required                       76          102               89
      Est PCP FTEs for SNU/IPC Patients                       11          14                13
11    Net PCPs for Primary Care (including SUD)               64          89                76
      and Intakes
12
13    MA:PCP Staffing 1:1 for Primary Care and                64           89               76
      Intakes
14
                    7.     Nursing Assistant (“NA”) / Patient Care Technician (“PCT”)
15                         Services

16            The primary role for NA and PCT staff is to provide support for activities of daily
17 living among SNU and ICP residents. Workload estimates are entirely based on the

18 expected census, level of care and the estimated hours per resident per day required to
19 provide adequate support to the patients in these specialized medical beds.

20
     77 For more on primary care teams and “teamlets”, including staffing models, see AJMC -
21
     The Patient-Centered Medical Home in the Veterans Health Administration (July 13,
22   2013),
     https://www.ajmc.com/view/the-patient-centered-medical-home-in-the-veterans-health-
23   administration; Creating Patient-centered Team-based Primary Care, Agency for
24   Healthcare          Research             and         Quality           White         Paper,
     https://pcmh.ahrq.gov/sites/default/files/attachments/creating-patient-centered-team-
25   based-primary-care-white-paper.pdf; Department of Veterans Affairs - Patent Centered
     Management       Module      (PCMM)        for Primary       Care     (June    20, 2017),
26   https://www.va.gov/vhapublications/ViewPublication.asp?pub_ID=5430.
                                                  -54-
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1

2     NA / PCT Staffing Model                 Policy / Literature     Total Estimated Hours
                                                   Review                    per Year
3                                             Hours per Resident
                                                    Day 78
4     Medical Cohort                          Lower       Higher     Balanced      High
5                                              Mid-        Mid-      Estimate     Estimate
                                              Range       Range
6                                             Usage       Usage

7

8     SNU Residents                              1           3        121,952      182,929
      IPC Residents                              3           5        203,254      254,067
9

10    Total Hours for Medical Cohorts                                 325,206      436,996

11    NA / PCT Capacity                                               Low           High
                                                                    Mid-Range       Mid-
12                                                                                  Range
      Work Days (net of vacation, sick, holidays, CME) per              223          223
13
      NA / PCT
14    Net Working Hours per Day per NA / PCT                             6            8
      Hours Capacity per Year Per NA / PCT                             1,338        1,784
15
      Estimated NA / PCT FTEs Required                   Balanced      High       High Mid-
16                                                       Estimate     Estimate      Point
17                                                                                Estimate
                                                            208         327          267
18
                    8.    Behavioral Health Technician (“BHT”) Services
19
              Similar to NA and PCT staff, the BHT’s primary role is to provide support for
20
     78 Estimated NA/PCT hours per resident day are based on data and guidelines from:
21
     Staffing Ratios in Nursing Homes, supra note 68; Health Serv Insights (June 29, 2020)
22   Appropriate       Nurse       Staffing    Levels     for    U.S.      Nursing     Homes,
     https://www.ncbi.nlm.nih.gov/pmc/articles/PMC7328494/; KFF - State Health Facts -
23   Average Nurse Hours per Resident Day in All Certified Nursing Facilities (2019),
24   https://www.kff.org/other/state-indicator/average-nurse-hours-per-resident-day-in-all-
     certified-nursing-facilities-2003-2014; National Central for Health Statistics - Vital and
25   Health Statistics (February 2019) Long-term Care Providers and Services Users in the
     United States, 2015-2016, https://www.cdc.gov/nchs/data/series/sr_03/sr03_43-508.pdf.
26

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 1 activities of daily living among patients in specialized healthcare beds, however their

 2 specialty is patients with psychiatric needs, i.e., individuals in MH residential, psychiatric

 3 inpatient, and mental health precautionary watch settings. Workload estimates are entirely

 4 based on the expected census, level of care and the estimated hours per resident per day
 5 required to provide adequate support to the patients with these highest-level specialized

 6 mental health needs. 79
    BHT Staffing Model                            Policy / Literature       Total Estimated
 7                                                     Review               Hours per Year
 8                                                Hours per Resident
                                                         Day
 9    Mental Health Cohort                        Lower       Higher     Balanced  High
                                                   Mid-        Mid-      Estimate Estimate
10                                                Range       Range
                                                  Usage        Usage
11

12
13    Patients in residential mental health             1        3        406,508     609,762
      care
14    Patients in psychiatric inpatient care            3        5        243,905     304,881
      or precautionary mental health
15    watch
16
      Totals for MH Cohorts                                               650,412     914,643
17
      BHT Capacity                                                         Low         High
18                                                                        Mid-         Mid-
                                                                          Range        Range
19    Work Days (net of vacation, sick, holidays, CME) per BHT             223          223
20    Net Working Hours per Day per BHT                                     6            8
      Hours Capacity per Year Per BHT                                     1,338        1,784
21

22
   79 Based on Zoom interviews with Pablo Stewart, M.D. on 8/23/2021 and 9/20/2021, and
23 despite current ADC practices or policy, BHTs are not qualified within their scope of

24 practice to competently perform isolation watch rounds during which a patient’s medical
   and mental health needs are assessed and evaluated. In addition, BHTs are not qualified
25 within their scope of practice to competently lead group sessions for patients with mental
   illness. Staff with advanced degrees or clinical licensure (e.g., LCSW, RN) command a
26 scope of practice most appropriate to deliver these services.

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 1    Estimated BHT FTEs Required                           Balanced    High Est.    High
                                                              Est.                   Mid-
 2                                                                                   Point
                                                                                    Estimate
 3
                                                               417         684        550
 4
 5                  9.     Pharmacy Technician Services
 6            Pharmacy Technician workload is driven exclusively by pill line demand. In the
 7 staffing model for this analysis, one Pharmacy Tech is assumed to support each daily line

 8 (including all four pill passes, i.e., morning, noon, afternoon and HS) for a single PCPs

 9 panel. For the purposes of this model, Pharmacy Tech staffing is driven by the same

10 formula used to allocate LPN staffing, which also primarily is focused on administering
11 medications.

12            Ratio-based allocation for pharmacy services within the primacy care team is
13 consistent with how primary care in the community is delivered, i.e., in a team-based,

14 patient-centered approach. This means that a core group of consistent providers deliver

15 healthcare services to a relatively stable panel of patients. The staffing model components

16 in this analysis associated with primary care are constructed based on these communit y
17 standard practices. A feature of the primary care team model is assignment of nursing and

18 paraprofessional staffing (e.g., RN, LPN, MA, pharmacy) directly proportionate to the
19 number of primary care providers, and in this case, proportionate to LPNs, the model for

20 which is based on the count of PCPs not allocated to. 80

21
     80 For more on primary care teams and “teamlets”, including staffing models, see AJMC -
22   The Patient-Centered Medical Home in the Veterans Health Administration (July 13,
     2013),
23   https://www.ajmc.com/view/the-patient-centered-medical-home-in-the-veterans-health-
24   administration; White Paper - Creating Patient-centered Team-based Primary Care by
     Agency       for    Healthcare        Research      and      Quality      (March     2016),
25   https://pcmh.ahrq.gov/sites/default/files/attachments/creating-patient-centered-team-
     based-primary-care-white-paper.pdf; Department of Veterans Affairs - Patent Centered
26   Management       Module      (PCMM)        for Primary       Care     (June    20,   2017),
                                                -57-
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 1
      Pharmacy Tech Staffing Model                          Balanced       High        High
 2                                                            Est.       Visit Est.    Mid-
                                                                                       Point
 3                                                                                    Estimate
 4    Estimated Total LPNs Required (2 per PCP                 116            160       138
      for one panel's 4 daily pill passes)
 5    Estimated Daily Pill Lines (4 pill passes per             58            80        69
      day)
 6    Estimated Pharm Techs per Pill Line per                   1             1          1
 7    Day

 8    Estimated Pharm Tech FTEs                                 58            80        69

 9                   10.    Laboratory Technician Services
10
              Laboratory Technician workload is driven exclusively by laboratory orders from
11
     PCPs and psychiatrists. It is a good practice for these staff to be exclusively responsible
12
     for specimen draws and collection instead of delegating this function to other staff with
13
     different or higher licensure but who are less specialized in laboratory-related workflows.
14
              Processing lab samples, including managing supplies and handling specimens is a
15
     complicated process over the breadth of specimens collected from patients. Other staff do
16
     not perform these functions frequently or with the level of specialization of a Laboratory
17
     Technician, which can result in lab errors or other inefficiencies. 81
18
              There are at least two sets of benchmarks that can be used to estimate the potential
19
     volume of laboratory specimens: one based on the number of provider visits, and a second
20
     based on the rate of laboratory specimens process in the population overall. The findings
21
     from these two methods are merged to arrive at a blended estimate.
22
      ADCRR Lab Tech Staffing Model:                                      Balanced       High
23                                                                          Est.         Est.
24
25 https://www.va.gov/vhapublications/ViewPublication.asp?pub_ID=5430.
   81 Based on 10/4/2021 email from plaintiff’s correctional medical specialist Todd Wilcox,
26 M.D.

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1     Estimated Total Annual PCP Visits, including SUD,               170,524      209,352
      excluding Intake
2     Estimated Total Annual Psychiatry Visits, excluding             81,023       136,988
3     Intake
      Estimated Total Annual PCP and Psychiatry Visits,               246,981      346,339
4     excluding Intake

5     Estimated Rate of Patients with Laboratory Orders per            24%          24%
      PCP or Psychiatry Visit 82
6
      Estimated Average Number of Specimens per Visit with               1              2
7     Lab Order
      Subtotal Estimated Annual Laboratory Specimens from PCP         60,371       166,243
8     or Psychiatry Visits
9     Estimated Total Annual Intakes                                  15,350       18,500
10    Estimated Rate of Patients with Laboratory Orders per           100%         100%
      Intake
11    Estimated Average Number of Specimens per Intake with              1              2
      Lab Order 83
12    Subtotal Estimated Annual Laboratory Specimens from             15,350       37,000
      Intake Visits
13

14    Estimated Visit-Based Total Annual Laboratory Specimens         75,721       203,243

15    Population-Based Laboratory Volume Estimate

16    Estimated Census                                                         27,843
      Estimated Rate of Laboratory Specimens per Resident per                   24.4
17
      Year 84
18    Estimated Population-Based Annual Laboratory Specimens                 680,758

19

20
     82  Based on CDC - Characteristics of Office - based Physician Visits 2019 (May 2021)
21
     https://www.cdc.gov/nchs/products/databriefs/db408.htm; at least one lab per visit in
22   which one or more labs are ordered; more than one lab may be ordered per visit, which
     may require more than one specimen.
23   83 At least one lab per intake in which one or more labs are ordered; more than one lab

24   may be ordered per intake, which may require more than one specimen.
     84 Based on Center for Surveillance, Epidemiology, and Laboratory Services - Big Data:

25   CMS’s Quality Improvement Evaluation System (QIES) and Proficiency Testing Database
     by                        Thomas                       Taylor,                       Jr.
26   https://www.cdc.gov/cliac/docs/addenda/cliac0418/17_Taylor_Lab_Landscape.pdf.
                                               -59-
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1                                                       Balanced Est.         High Est.
      Estimated Annual Laboratory                         378,240             442,000
2     Specimens 85
3     Lab Tech Capacity                                                    Low        High
                                                                         Mid-Range    Mid-
4
                                                                                      Range
5     Work Days (net of vacation, sick, holidays, CME) per                  223        223
      Lab Tech
6     Lab Specimens Processed per Hour per Lab Tech 86                       6         12
      Estimated Net Working Hours per Day per Lab Tech                       6          8
7
      Lab Specimen Capacity per Year Per Lab Tech                          1,338      2,676
8
      Estimated Lab Tech FTEs          Balanced Estimate High Estimate        High Mid-Point
9     Required                                                                   Estimate
                                                188                330             259
10
                    11.    Medical Radiologic Technologist Services
11
              Medical Radiologic Technologist workload is driven primarily by imaging orders
12
     from PCPs. Estimated imaging orders is based on a multiplier of non-SUD PCP visits,
13
     including visits for new and returning resident intakes, the counts of which were estimated
14
     earlier in this staffing model analysis.
15
      MR Tech Staffing Model                                             Balanced     High
16
                                                                           Est.       Est.
17

18
     85 Based on the average of the a) balanced or high and b) population-based estimates
19   86 Laboratory technician throughput estimates based on: Oxford Academic Lab Medicine
     - Hospital Automates Phlebotomy Department for Efficiency and Patent Safety (Sept.
20
     2005)
21   https://academic.oup.com/labmed/article/36/9/528/2657433; Center for Phlebotomy
     Education - Patients Per Hour: How Many Should You Draw (May 6, 2020),
22   https://www.phlebotomy.com/phlebotomyblog/how-fast-is-fast-enough.html;           Oxford
     Academic Lab Medicine - Phlebotomy Cycle Time Related to Phlebotomist Experience
23   and/or Hospital Location, https://academic.oup.com/labmed/article/47/1/83/2505042 ;
     CAP TODAY - Lab shoots for better phlebotomy services, satisfied patients (2016),
24
     https://www.captodayonline.com/lab-shoots-for-better-phlebotomy-service-satisfied-
25   patients/; Mayo Clinic Laboratories - Staffing to Workload in Phlebotomy Areas - Direct
     Effort (March 1, 2019), https://news.mayocliniclabs.com/2018/03/01/staffing-workload -
26   phlebotomy-areas-direct-effort/
                                                      -60-
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1     Estimated Total Annual PCP Visits, including Intake,                  170,524       209,352
      excluding SUD
2     Estimated Rate of Patients with X-Ray Orders per non-                   13%          13%
3     SUD PCP Visit 87
      Estimated Average Number of Images per Visit with X-                      1            1
4     Ray Order
      Subtotal Estimated Annual Laboratory Orders from non-                  22,168       27,216
5     SUD PCP Visits
6     MR Tech Capacity                                                      Low           High
7                                                                         Mid-Range       Mid-
                                                                                          Range
8     Work Days (net of vacation, sick, holidays, CME) per                    223          223
      MRT
9     Estimated Average Imaging Visits per hour per MRT 88                    1.5           1.6
      Estimated Net Working Hours per Day per MRT                              6             8
10
      X-Ray Capacity per Year Per MRT                                        2,007         2,854
11
      Estimated MRT FTEs Required             Balanced     High Est.      High Mid-Point Est.
12                                              Est.
                                                  9           14                     11
13
                     12.    Dentist, Dental Assistant and Registered Dental Hygienist
14                          (“RDH”) Services
15
              ADCRR policy provides for annual preventive dental care visits in addition to
16
     necessary dental procedures. In addition, a dental screening is performed during the intake
17
     of any new or returning prison resident.
18
              Because the nature of evaluation at intake is not preventive or restorative but instead
19
     87  Based on CDC - Characteristics of Office - based Physician Visits 2019 (May 2021)
20
     https://www.cdc.gov/nchs/products/databriefs/db408.htm.
     88 Based on estimates from: JACR - Measuring and Improving Productivity in General
21
     Radiology (October 1, 2010), https://www.jacr.org/article/S1546-1440(10)0026 2-
22   0/fulltext; Advisory Board - Imaging Productivity and Turnaround Time Benchmarks
     Preview,                                            https://advisory-prod.azureedge.net/-
23   /media/project/advisoryboard/shared/research/ipp/success-pages/imaging-productivity-
24   and-turnaround-time-benchmarks-report.pdf; Journal of Digital Imaging -SCAR
     Radiologic Technologist Survey: Analysis of the Impact of Digital Technologies on
25   Productivity
     https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3613256/pdf/10278_2002_Article_10.10
26   07-+s10278-002-0021-8.pdf.
                                                    -61-
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1 is an assessment of the new or returning resident's oral health, it is treated as a separately

2 required service in addition to those required as part of an annual preventive visit (e.g.,

3 including related hygiene, etc.). Workload and demand related to dental intakes is

4 therefore distinct from annual or episodic preventive and restorative dental care.
5     Dentist Staffing        Policy / Literature Review               Total Estimated Dentist
      Model                    Est. Dentist Visits / Year                    Visits / Year
6
7                          Lower Mid-         Higher Mid-              Balanced        High
                           Range Usage        Range Usage              Estimate       Estimate
8
      Census                     1                 1.3                  32,019         36,196
9
      Multiplier 89
10    Intakes                                                           15,350         18,500
      Grand Total Dentist Visit Estimate                                47,369         54,696
11
      Dentist Capacity                                                      Low         High
12                                                                         Mid-       Mid-Range
13                                                                         Range
      Work Days (net of vacation, sick, holidays, CME) per                  223          223
14    Dentist
      Visits per Day per Dentist 90                                          6            9
15    Visit Capacity per Year Per Dentist                                  1,338        2,007
16    Estimated Dentist FTEs Required                       Balanced       High       High Mid-
17                                                            Est.       Visit Est.   Point Est.
                                                               28           41           35
18
19   89 Based on ADC policy and data from MEPS - Research Findings #38 - Dental Services:
     Use, Expenses of Payment, Coverage and Procedure Type, 1996-2015
20
     https://meps.ahrq.gov/data_files/publications/rf38/rf38.pdf.
     90 Estimated dentist capacity based on: U.S. Dept. of Veterans Affairs - Assessment G
21
     (Staffing/Productivity/Time         Allocation)         (September        1,       2015)
22   https://www.va.gov/HEALTHPOLICYPLANNING/Assessment/Assessment_G_Staffing
     _Productivity.pdf; Operations Manual for Health Center Oral Health Programs - Chapter
23   Five:          Workforce         and         Staffing        http://www.nnoha.org/nnoha-
24   content/uploads/2013/08/OpManualChapter5.pdf; Safety Net Dental Clinic Manual -
     Section 3 Staffing - Staffing Configurations, https://www.dentalclinicmanual.com/2-
25   facilities/sec3-01.php;    2015 Dental Assistant Workforce in the United States,
     https://oralhealthworkforce.org/wp-
26   content/uploads/2015/11/Dental_Assistant_Workforce_2015.pdf.
                                                -62-
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 1            Dental Assistant and Dental Hygienist workload is expected to be proportionate to

 2 that of a Dentist, with community standard dental paraprofessional staffing in the range of

 3 2:1 Dental Assistants to Dentists and 1:1 for Dental Hygienists. 91
    Dental Assistant Staffing Model                     Balanced       High            High Mid-
 4                                                        Est.       Visit Est.        Point Est.
 5    Estimated Total Dentist FTEs Required                    28           41            35
      DA:Dentist Staffing 2:1                                  57           82            69
 6
      RDH Staffing Model                                    Balanced      High         High Mid-
 7                                                            Est.      Visit Est.     Point Est.
      Estimated Total Dentist FTEs Required                    28          41             35
 8
      RDH:Dentist Staffing 1:1                                 28          41             35
 9
              v.     What is the gap between the current ADCRR healthcare staffing plan
10                   and the healthcare staffing required based on this analysis?
11
              Based on the estimated cohort distributions, the expected range of service
12
     utilization, and estimated clinician throughput, the following staffing FTE ranges are
13
     expected to satisfy expected demand for healthcare services by ADCRR residents. These
14
     ranges are presented with data on current hired and contracted positions for each
15
     classification in this analysis. Healthcare positions not staffed at prison locations (i.e.,
16
     “Regional” classifications) are excluded from this comparative analysis, as are supervisory
17
     positions not providing face-to-face direct patient care as their primary duty.
18
              Using this approach and based on the available evidence to support this analysis, it
19
     appears that there is a significant gap between the current number of contracted or hired
20
     staff providing healthcare services to ADCRR residents and the estimated number of staff
21
     needed in the model. Estimates are provided as a range based on the variability of
22
     assumptions used in the model; percentages in the table below may not tie due to rounding.
23

24   91
      Based on: Safety Net Dental Clinic Manual - Section 3 Staffing - Staffing Configurations
25 https://www.dentalclinicmanual.com/2-facilities/sec3-01.php;
   2015 Dental Assistant Workforce in the United States, https://oralhealthworkforce.org/wp-
26 content/uploads/2015/11/Dental_Assistant_Workforce_2015.pdf.

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1     FTEs by             Staffing Model Output      Current ADCRR           % Difference
      Classificatio               Range                  Staffing         Between Current and
2     n                                                                    Modeled Staffing
3

4
                         Balance     High Mid-      Curren     Current    Variance Varianc
5                            d         Point        t Hired    Contrac    between      e
                         Estimate    Estimate                     t       Contract between
6                                                                           and    Contract
                                                                          Balance    and
7
                                                                              d     High
8                                                                         Estimate  Mid-
                                                                                    Point
9                                                                                  Estimate
      Staff PCP              76           89             57       53       -30%     -40%
10    Staff                  38           58             31       31       -17%     -47%
11    Psychiatrist
      Staff MH              358          554             75      100        -72%       -82%
12    Clinician
      Staff BHT             417          550          27          29        -93%       -95%
13    Staff NA /            208          267          101         99        -52%       -63%
      PCT
14
      Staff LPN +           305          378          135        185        -39%       -51%
15    MA
      Staff RN              343          424          168        229        -33%       -46%
16    Staff Lab             188          259           9          6         -97%       -98%
      Tech
17    Staff MRT              9            11             8        8         -12%       -29%
18    Staff Pharm            58           69             35       31        -47%       -55%
      Tech
19    Staff Dentist          28           35             16       19        -33%       -45%
      Staff DA               57           69             41       43        -24%       -38%
20    Staff RDH              28           35              0       0        -100%      -100%
21

22            Among the more prominent potential staffing shortages:
23                    MH Clinicians, the understaffing of which may reflect the unmet demand for
24                    mental health counseling and professionally-led     mental health group
25                    sessions;
26

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 1                  BHTs, the understaffing of which may reflect unmet specialized mental

 2                  health bed demands (i.e., MH residential, psychiatric inpatient, and

 3                  precautionary MH watch);

 4                  NAs and PCTs, the understaffing of which may reflect unmet specialized

 5                  medical bed needs (i.e., SNU and IPC);

 6                  Lab Techs, the understaffing of which may reflect lab specimen handling

 7                  workflows where nurses or other licensed and certified staff are drawing

 8                  samples to fulfill lab orders instead of the Lab Techs, which is an

 9                  exceptionally inefficient use of healthcare resources (i.e., healthcare staff

10                  should be assigned to duties at the maximum capacity of, but not to exceed,

11                  their scope of licensure or certification) that introduces potential for error due

12                  to the complexity of laboratory workflows; and

13                  RDHs, who typically support dental clinic workload in the free world but

14                  who are completely missing from current ADCRR healthcare staffing.

15            B.    Institution-level staffing projections and gap analysis

16            In applying this statewide staffing model to the ten ADCRR Locations, estimates

17 for the number and type of healthcare staff needed can be created for each prison, along

18 with a comparison to current staffing levels. The location-specific estimates use the same
19 model and assumptions as the state-wide estimates, adjusted for types of housing and

20 services available at each of the locations. The following table summarizes the location-

21 specific differences accounted for in the estimates:

22    Location-Specific Characteristics Accounted for in Staffing Estimates
      Douglas    No capacity for residents with mental illness or MH precaution watch
23
                 needs; no capacity for residents with three or more chronic conditions,
24               limited physical capacity / stamina, or IPC/SNU level of care needs
      Eyman      No capacity for residents with IPC/SNU level of care needs
25    Florence No capacity for residents with MH residential, psychiatric inpatient or
                 MH precaution watch needs;
26

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 1    Lewis      No capacity for residents with MH residential needs; no residents with
                 SNU level of care needs; all minors (male and female) incarcerated here
 2    Perryville All female intakes here; all female residents (except minors) incarcerated
 3               here; full spectrum of cohorts
      Phoenix    All male intakes here; no capacity for residents with IPC/SNU level of
 4               care needs; all inpatient mental health patients here
      Safford    No capacity for residents with mental illness or MH precaution watch
 5               needs; no capacity for residents with three or more chronic conditions,
                 limited physical capacity / stamina, or IPC/SNU level of care needs
 6
      Tucson     Full spectrum of cohorts
 7    Winslow No capacity for residents with mental illness or MH precaution watch
                 needs; no capacity for residents with three or more chronic conditions,
 8               limited physical capacity / stamina, or IPC/SNU level of care needs
      Yuma       No capacity for residents with MH residential, psychiatric inpatient or
 9               MH precaution watch needs; no capacity for residents with IPC/SNU
                 level of care needs
10
11            Adjustments to the models for each location impacted the assumptions about how
12 the population is distributed among the medical and mental health cohorts. No institution-
13 specific adjustments were made for the SUD cohorts. In addition, for the purposes of

14 estimating local staffing needs, clinician throughput was not adjusted for the proportion of

15 local census or capacity in isolated housing, although the number of residents in isolated

16 housing may be a factor impacting healthcare staffing needs due to potential clinician
17 throughput constraints (i.e., based on Zoom interviews with plaintiff’s correctional medical

18 expert Todd Wilcox, M.D., on 8/26/21, 9/6/21, and 9/14/21). However, local isolated
19 housing proportions were considered for estimating the number of residents requiring

20 isolation welfare checks.

21            The two tables below display the percentage distributions used for medical cohorts
22 at each of the ten locations, with column A representing the estimated healthier case-mix
23 mid-range percentages and column B representing the estimated sicker case-mix mid-range

24 percentages:
25 Case-Mix Percentage           Statewide Douglas       Eyma   Florence Perryville Phoenix
    Ranges by Cohort                                       n
26

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1     Medical Cohort            A      B      A        B A B                   A        B        A     B     A    B
2     Residents with no         52     47     63       60 46 40                60       57       44    38    46   40
      chronic conditions or
3     special requirements
      (i.e., episodic medical
4     care only)
      Residents with 1          22     19     22       19 22 19                22       19       22    19    22   19
5     stable chronic
6     medical condition or
      age 50+
7     Residents with 2          15     21     15       21 15 21                15       21       15    21    15   21
      chronic medical
8     conditions or with
      restricted physical
9
      capacity requiring
10    accommodation and
      of any age
11    Residents with 3+         10     12     0         0        17 20         0        0        17    20    17   20
      chronic medical
12    conditions or severe
13    physical illness with
      high medical usage
14    characteristics (e.g.,
      HIV, advanced age,
15    dialysis) or limited
      physical capacity /
16    stamina
17    SNU Residents             0.6    0.6    0         0        0      0    1.6 1.6 1.6               1.6   0    0
      IPC Residents             0.5    0.5    0         0        0      0    0.9 0.9 0.9               0.9   0    0
18
      Case-Mix Percentage        Statewide         Lewis             Safford        Tucson        Winslow     Yuma
19    Ranges by Cohort
      Medical Cohort              A      B        A         B        A B           A        B     A     B    A B
20
      Residents with no           52     47       62        59       63 60         44       38    63    60   46 40
21    chronic conditions or
      special requirements
22    (i.e., episodic medical
      care only)
23    Residents with 1 stable     22     19       22        19       22 19         22       19    22    19   22 19
      chronic medical
24
      condition or age 50+
25

26

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 1    Residents with 2               15        21        15        21    15 21       15     21      15       21   15 21
      chronic medical
 2    conditions or with
      restricted physical
 3
      capacity requiring
 4    accommodation and of
      any age
 5    Residents with 3+              10        12        0         0        0   0    17     20      0        0    17 20
      chronic medical
 6    conditions or severe
 7    physical illness with
      high medical usage
 8    characteristics (e.g.,
      HIV, advanced age,
 9    dialysis) or limited
      physical capacity /
10    stamina
11    SNU Residents                  0.6       0.6        0   0             0   0    1.6 1.6        0        0    0    0
      IPC Residents                  0.5       0.5       0.9 0.9            0   0    0.9 0.9        0        0    0    0
12
13            The two tables below display the percentage distributions used for mental health

14 cohorts at each location, with column A representing the estimated healthier case-mix mid-

15 range percentages and column B representing the estimated sicker case-mix mid-range

16 percentages:
17    Case-Mix         State-    Douglas             Eyman               Florence         Perryville         Phoenix
      Percentage       Wide
18    Ranges by
19    Cohort
      Mental          A     B    A         B         A        B         A       B     A       B          A        B
20    Health
      Cohort
21    Residents       12    9    2         2        17        16        2       2    0.1      0.1       22        20
      with no
22    current
23    mental
      illness in
24    isolated
      housing
25    Residents       45   44    98        98       33        30        48      43    50      45        28        25
      with no
26

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1     current
      mental
2     illness not
      in isolated
3
      housing
4     Residents     5     3    0   0   10   7      1.4   0.9   0.1   0.0   13    8
      with                                                            5
5     current
      mild /
6     moderate
7     mental
      illness in
8     isolated
      housing
9     Residents     20    13   0   0   19   12     28    18    29    19    16    10
      with
10
      current
11    mild /
      moderate
12    mental
      illness not
13    in isolated
      housing
14
      Residents     3     6    0   0   7    12     1.0   1.8   0.0   0.1   9     16
15    with
      serious
16    mental
      illness in
17    isolated
18    housing
      Residents     12    22   0   0   8    18     20    34    15    31    6     15
19    with
      serious
20    mental
      illness not
21    in isolated
22    housing
      Patients in   2.0   2.   0   0   4.   4.2    0     0     4.2   4.2   4.2   4.2
23    residential         0            2
      mental
24    health
      care
25

26

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1     Patients in   0.6     0.         0    0    0.   0.9     0       0    0.9       0.9        0.9    0.9
      psychiatri            6                    9
2     c inpatient
      care or
3
      precaution
4     ary mental
      health
5     watch
6     Case-Mix               State-Wide           Lewis      Safford      Tucson           Winslo      Yuma
7     Percentage                                                                             w
      Ranges by Cohort
8     Mental Health              A         B     A    B      A    B       A      B         A      B    A     B
      Cohort
9     Residents with             12        9     27   24     27   27      2      2         2      2    2     1.
      no current                                                                                             6
10    mental illness in
11    isolated housing
      Residents with             45        44    24   21     73   73      48     44        98     98   48    4
12    no current                                                                                             4
      mental illness not
13    in isolated
      housing
14
      Residents with             5         3     16   10     0    0       1.2    0.        0.     0    1.    0.
15    current                                                                    8         0           0     7
      mild/moderate
16    mental Illness in
      isolated housing
17    Residents with             20        13    14    9     0    0       28     18        0      0    28    1
18    current                                                                                                8
      mild/moderate
19    mental Illness
      not in isolated
20    housing
      Residents with             3         6     11   19     0    0       0.9    1.        0      0    0.    1.
21    serious mental                                                             5                     7     3
22    illness in isolated
      housing
23    Residents with             12        22     9   16     0    0       15     29        0      0    20    3
      serious mental                                                                                         5
24    illness not in
      isolated housing
25
      Patients in                2.0       2.0    0    0     0    0       4.2    4.        0      0    0     0
26    residential                                                                2

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 1    mental health
      care
 2    Patients in             0.6     0.6     0.   0.      0   0   0.9   0.     0   0     0   0
 3    psychiatric                             9    9                     9
      inpatient care or
 4    precautionary
      mental health
 5    watch
 6            Analysis of institution-level healthcare staffing estimates and gap analysis
 7 introduced additional complexity into the methodology used in this model. Most notably,

 8 because of the myriad location-specific factors described above that were considered for

 9 allocating the cohorts among the various locations, the total estimated staff counts may not

10 tie exactly to the statewide estimates. Also notably, the distribution of healthcare beds and
11 case-mix at Florence changed during the time in which this analysis was undertaken, and

12 therefore census, capacity and staffing counts may blend data from the pre- and post-
13 conversion periods for Florence. However, the general findings at the location level are

14 the same as the statewide findings, i.e., ADCRR locations appear to be understaffed

15 compared to the estimates of staff required to meet resident healthcare demands based on

16 the healthcare staffing model created for this analysis.
17            Below are tables with location-specific healthcare staffing estimates compared to
18 current local staffing levels. The same statewide healthcare staffing model has been
19 applied to each location, however the location-specific cohort distribution estimates

20 outlined above were used to determine estimated healthcare staffing needs. Percentages

21 may not align due to rounding, and total FTEs may not add to the statewide model results

22 due to rounding.
23    Douglas             Balanced           High         Current Current     Variance   Variance
24    FTEs                Estimate           Mid-          Hired Contract     between    between
                                             Point                            Contract   Contract
25                                          Estimate                            and        and
                                                                                          High
26

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1                                                                         Balanced    Mid-
                                                                          Estimate    Point
2                                                                                    Estimate
3

4
      Staff PCP        2.8               3.2            2.0        1.5      -46%       -54%
5     Staff            0.0               0.0            0.0        0.0       N/A        N/A
      Psychiatrist
6     Staff MH         8.7           12.8               1.0        1.0      -88%       -92%
      Clinician
7
      Staff BHT        0.0               0.0            0.0        0.0      N/A        N/A
8     Staff NA /       0.0               0.0            4.0        4.0      N/A        N/A
      PCT
9     Staff LPN        8.3               9.7            4.0        4.0      -52%       -59%
      + MA
10    Staff RN         10.4          11.4               7.3        8.0      -23%       -30%
11    Staff Lab        9.8           12.6               0.0        0.0     -100%      -100%
      Tech
12    Staff MRT        0.4               0.4            0.3        0.3      -31%       -44%
      Staff            2.8               3.2            2.0        2.0      -27%       -38%
13    Pharm
14    Tech
      Staff            1.1               1.3            0.8        1.0      -5%        -22%
15    Dentist
      Staff DA         2.1               2.6            2.0        2.0      -5%        -22%
16    Staff RDH        1.1               1.3            0.0        0.0     -100%      -100%
17    Eyman          Balanced    High          Current        Current    Variance    Variance
18    FTEs           Estimate    Mid-           Hired         Contract   between     between
                                 Point                                   Contract    Contract
19                              Estimate                                   and         and
                                                                         Balanced     High
20                                                                       Estimate     Mid-
                                                                                      Point
21                                                                                   Estimate
22    Staff PCP        12.0       14.4            7.0           6.5       -46%        -55%
      Staff             8.1       12.5            4.5           4.5       -45%        -64%
23    Psychiatrist
      Staff MH         80.5      123.2            8.0           16.0      -80%        -87%
24    Clinician
25    Staff BHT       146.8      195.2           4.0            4.0       -97%        -98%
      Staff NA /       0.0        0.0            10.7           9.0        N/A         N/A
26    PCT

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1     Staff LPN +        61.7      76.2        21.9       30.0        -51%       -61%
      MA
2     Staff RN           62.3     78.1          9.2       22.0        -65%       -72%
3     Staff Lab Tech     34.6     47.2          0.0       0.0        -100%      -100%
      Staff MRT           1.6     2.0           1.0        1.0        -36%       -50%
4     Staff Pharm        12.0     14.4          3.0        4.0        -67%       -72%
      Tech
5     Staff Dentist      3.6       4.3          3.8        3.0        -16%       -31%
6     Staff DA           7.2       8.6          6.0        6.0        -16%       -31%
      Staff RDH          3.6       4.3          0.0        0.0       -100%      -100%
7
      Florence         Balanced    High       Current     Current    Variance   Variance
8     FTEs             Estimate    Mid-        Hired      Contract   between    between
                                   Point                             Contract   Contract
9                                 Estimate                             and        and
                                                                     Balanced    High
10
                                                                     Estimate    Mid-
11                                                                               Point
                                                                                Estimate
12    Staff PCP           6.7       7.7             8.0     8.0        19%        4%
      Staff               3.6       5.7             4.5     4.5        23%       -21%
13
      Psychiatrist
14    Staff MH            29.4     46.5             5.9     11.0      -63%       -76%
      Clinician
15    Staff BHT           0.0       0.0          4.0         4.0       N/A        N/A
      Staff NA / PCT      41.7     54.0         15.2        20.0      -52%       -63%
16    Staff LPN +         22.3     27.4         19.8        30.0       35%        9%
17    MA
      Staff RN            25.7     31.4         24.6        37.0       44%        18%
18    Staff Lab Tech      16.9     23.0          2.0        0.5       -97%       -98%
      Staff MRT           0.9       1.1          1.0        1.0        14%        -6%
19    Staff Pharm         4.5      5.3          4.8         4.0       -11%       -24%
      Tech
20
      Staff Dentist       1.7       2.1             1.0     3.0        72%       43%
21    Staff DA            3.5       4.2             3.0     6.0        72%       43%
      Staff RDH           1.7       2.1             0.0     0.0       -100%     -100%
22
      Lewis            Balanced    High        Current    Current    Variance   Variance
23    FTEs             Estimate    Mid-         Hired     Contract   between    between
24                                 Point                             Contract   Contract
                                  Estimate                             and        and
25                                                                   Balanced    High
                                                                     Estimate    Mid-
26

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1                                                                                Point
                                                                                Estimate
2

3

4
      Staff PCP         10.3        11.9            7.5     8.0       -22%       -33%
5     Staff             6.8         10.6            3.8     4.5       -34%       -58%
      Psychiatrist
6     Staff MH          76.2       115.2        13.3        15.0      -80%       -87%
      Clinician
7
      Staff BHT         38.8        47.6         2.0         4.0      -90%       -92%
8     Staff NA /        39.1        48.1        10.7        14.0      -64%       -71%
      PCT
9     Staff LPN +       46.1        58.3        27.2        34.0      -26%       -42%
      MA
10    Staff RN          51.8        66.3        27.3        32.0       -38%      -52%
11    Staff Lab         29.4        39.9         0.0        0.0       -100%     -100%
      Tech
12    Staff MRT         1.3          1.7            1.0     1.0       -26%       -39%
      Staff Pharm       7.9          9.3            6.0     5.0       -37%       -46%
13    Tech
14    Staff Dentist     3.0          3.7            2.0     3.0        -1%        -18%
      Staff DA          6.1          7.3            5.8     6.0        -1%        -18%
15    Staff RDH         3.0          3.7            0.0     0.0       -100%      -100%

16    Perryville       Balanced    High       Current     Current    Variance   Variance
      FTEs             Estimate    Mid-        Hired      Contract   between    between
17                                 Point                             Contract   Contract
18                                Estimate                             and        and
                                                                     Balanced    High
19                                                                   Estimate    Mid-
                                                                                 Point
20                                                                              Estimate
      Staff PCP          11.2      13.1             7.5     6.2       -45%       -53%
21
      Staff              5.3        8.2             5.2     4.5       -16%       -45%
22    Psychiatrist
      Staff MH           41.1      64.8         10.8        12.0      -71%       -81%
23    Clinician
      Staff BHT          93.7      124.6         3.0         3.0      -97%       -98%
24    Staff NA / PCT     54.7      70.9         11.7        14.0      -74%       -80%
25    Staff LPN +        51.5      64.5         18.6        24.0      -53%       -63%
      MA
26    Staff RN           58.4      74.2         19.0        35.2      -40%       -53%

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1     Staff Lab Tech     23.0      32.0             2.0     0.5       -98%       -98%
      Staff MRT          1.4        1.7             1.0     0.5       -64%       -71%
2     Staff Pharm        7.6       9.1              4.0     3.0       -60%       -67%
3     Tech
      Staff Dentist      3.4        4.1             3.0     4.0         18%       -3%
4     Staff DA           6.8        8.3             6.0     6.0        -11%      -28%
      Staff RDH          3.4        4.1             0.0     0.0       -100%     -100%
5

6     Phoenix          Balanced    High       Current     Current    Variance   Variance
      FTEs             Estimate    Mid-        Hired      Contract   between    between
7                                  Point                             Contract   Contract
                                  Estimate                             and        and
8                                                                    Balanced    High
9                                                                    Estimate    Mid-
                                                                                 Point
10                                                                              Estimate
      Staff PCP          1.8        2.6          4.5         4.5      -23%       -34%
11    Staff              13.3      18.6         10.5        15.0      153%        75%
      Psychiatrist
12
      Staff MH           12.5      16.6             5.0     5.0        13%       -19%
13    Clinician
      Staff BHT          0.0       0.0          3.9         5.8       -60%       -70%
14    Staff NA / PCT     10.8      12.9          3.4        3.0        N/A        N/A
      Staff LPN +        20.8      23.9         18.9        27.8      -72%       -77%
15    MA
16    Staff RN           6.3       11.8             0.5     0.5        34%        16%
      Staff Lab Tech     0.1       0.2              1.0     1.0       -92%       -96%
17    Staff MRT          1.0        1.2             2.0     2.0       649%       490%
      Staff Pharm        8.4       10.5             0.0     0.0        96%        64%
18    Tech
19    Staff Dentist      16.8      21.0             3.0     3.0       -100%     -100%
      Staff DA           8.4       10.5             0.0     0.0        -82%      -86%
20    Staff RDH          1.8        2.6             4.5     4.5       -100%     -100%

21    Safford          Balanced    High       Current     Current    Variance   Variance
      FTEs             Estimate    Mid-        Hired      Contract   between    between
22                                 Point                             Contract   Contract
23                                Estimate                             and        and
                                                                     Balanced    High
24                                                                   Estimate    Mid-
                                                                                 Point
25                                                                              Estimate
      Staff PCP          1.9        2.2             2.0     1.0       -46%       -54%
26

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1     Staff                0.0        0.0           0.0       0.0       N/A      N/A
      Psychiatrist
2     Staff MH             6.6        9.6           1.0       1.0      -85%      -90%
3     Clinician
      Staff BHT            0.0        0.0           0.0       0.0       N/A      N/A
4     Staff NA / PCT       0.0        0.0           4.0       4.0       N/A      N/A
      Staff LPN +          5.6        6.6           2.8       6.0       7%       -9%
5     MA
      Staff RN             8.6        9.3       12.8          8.0       -7%      -14%
6
      Staff Lab Tech       6.6        8.6        0.0          0.0      -100%    -100%
7     Staff MRT            0.2        0.3        0.3          0.3        2%      -18%
      Staff Pharm          1.9        2.2       2.0           2.0        7%       -9%
8     Tech
      Staff Dentist        0.7        0.9           0.0       0.0      -100%    -100%
9
      Staff DA             1.4        1.7           2.0       2.0       40%      16%
10    Staff RDH            0.7        0.9           0.0       0.0      -100%    -100%

11    Tucson           Balanced    High      Current      Current    Variance   Variance
      FTEs             Estimate    Mid-       Hired       Contract   between    between
12                                 Point                             Contract   Contract
                                  Estimate                             and        and
13
                                                                     Balanced    High
14                                                                   Estimate    Mid-
                                                                                 Point
15                                                                              Estimate
      Staff PCP          14.0      16.3        8.8          10.0      -28%       -39%
16    Staff               6.9      10.7        4.3          4.5       -35%       -58%
17    Psychiatrist
      Staff MH           55.4      87.3       15.0          18.0      -68%       -79%
18    Clinician
      Staff BHT         124.9      166.0       6.0          6.0       -95%       -96%
19    Staff NA /         72.9       94.5      18.7          19.0      -74%       -80%
      PCT
20
      Staff LPN +        67.6      84.8       24.2          40.0      -41%       -53%
21    MA
      Staff RN           74.2      94.9       20.2          38.0      -49%       -60%
22    Staff Lab          30.0      41.3        2.0          2.0       -93%       -95%
      Tech
23    Staff MRT           1.8       2.3        1.0          1.0       -45%       -56%
24    Staff Pharm        10.1      12.1        6.0          4.0       -60%       -67%
      Tech
25    Staff Dentist      3.0        3.7        3.0          3.0        -2%       -18%
      Staff DA           6.1        7.4        6.0          6.0        -2%       -18%
26

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1     Staff RDH         3.0        3.7        0.0       0.0       -100%     -100%
2

3     Winslow         Balanced    High      Current   Current    Variance   Variance
      FTEs            Estimate    Mid-       Hired    Contract   between    between
4                                 Point                          Contract   Contract
                                 Estimate                          and        and
5                                                                Balanced    High
                                                                 Estimate    Mid-
6
                                                                             Point
7                                                                           Estimate
      Staff PCP         2.7        3.1        1.0       2.0       -25%       -36%
8     Staff             0.0        0.0        0.0       0.0        N/A        N/A
      Psychiatrist
9     Staff MH          8.4       12.4        1.0       1.0       -88%       -92%
10    Clinician
      Staff BHT         0.0        0.0        0.0       0.0        N/A       N/A
11    Staff NA /        0.0        0.0        6.7       3.0        N/A       N/A
      PCT
12    Staff LPN +       8.0        9.4        1.0       4.0       -50%       -57%
      MA
13
      Staff RN          10.2      11.2        9.2       6.0        -41%      -46%
14    Staff Lab          9.5      12.3        0.0       0.0       -100%     -100%
      Tech
15    Staff MRT         0.3        0.4        0.5       0.5        43%        15%
      Staff Pharm       2.7        3.1        2.0       2.0       -25%       -36%
16    Tech
17    Staff Dentist     1.0        1.2        0.0       0.0       -100%     -100%
      Staff DA          2.0        2.5        2.0       2.0        -2%       -19%
18    Staff RDH         1.0        1.2        0.0       0.0       -100%     -100%
19    Yuma            Balanced    High      Current   Current    Variance   Variance
      FTEs            Estimate    Mid-       Hired    Contract   between    between
20
                                  Point                          Contract   Contract
21                               Estimate                          and        and
                                                                 Balanced    High
22                                                               Estimate    Mid-
                                                                             Point
23                                                                          Estimate
24    Staff PCP         7.8        9.4        6.9        5.0       -36%      -47%
      Staff             4.9        7.6        4.0        4.0       -18%      -47%
25    Psychiatrist

26

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 1    Staff MH               39.0         61.8        8.8        10.0        -74%         -84%
      Clinician
 2    Staff BHT               0.0         0.0          3.0        3.0         N/A          N/A
 3    Staff NA /              0.0         0.0         15.8        6.0         N/A          N/A
      PCT
 4    Staff LPN +            23.4         28.1        12.0       10.0        -57%         -64%
      MA
 5    Staff RN               20.5         23.7        19.6       15.0        -27%         -37%
      Staff Lab              22.5         30.6        2.0        2.0         -91%         -93%
 6
      Tech
 7    Staff MRT               1.0         1.3         1.0         1.0         -2%         -23%
      Staff Pharm             7.8         9.4         3.0         3.0        -62%         -68%
 8    Tech
      Staff Dentist           2.3         2.8         2.0         2.0         -14%         -29%
 9
      Staff DA                4.7         5.6         5.0         4.0         -14%         -29%
10    Staff RDH               2.3         2.8         0.0         0.0        -100%        -100%

11            C.     Comparison to Other Healthcare Systems
12            Although there is considerable variability in healthcare service delivery and staffing
13 models among state prison systems, comparisons of staffing ratios among states can

14 provide a useful check on overall staffing. This analysis examined two data sources on

15 healthcare staffing in state prisons: (a) A Pew Charitable Trusts report using data from

16 2010 through 2015, 92 and (b) data from a partnership between the CDCs National Center
17 for Health Statistics (NCHS) and the Bureau of Justice Statistics (BJS) using data from

18 2011. 93 Data from other U.S. prisons also were considered for comparative analysis to
19 verify whether the ADCRR staffing model developed for this analysis resulted in estimated

20 healthcare staff FTE requirements that were in a reasonable range. 94

21            The Pew report compared healthcare spending and staffing levels among states.

22 Using 2015 data, the report listed Arizona as 44th out of 49 states in terms of healthcare
23   92    https://www.pewtrusts.org/en/research-and-analysis/reports/2017/10/prison-health-
   care-costs-and-quality
24 93
      https://www.cdc.gov/nchs/dhcs/nsphc.htm; state-level staffing survey data used for the
25 report were requested and obtained from CDC
   94                        For                         example,                        see
26 https://publicpay.ca.gov/Reports/State/StateEntity.aspx?entityid=3761&year=2020

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 1 spending per inmate. Although staffing is not the only driver of prison healthcare costs,

 2 states with fewer staff generally had lower costs. In terms of healthcare staffing, Arizona

 3 ranked 35th out of 43 reporting states in terms of healthcare staffing rates per 1,000 prison

 4 residents.
 5            Although not every state provided data in every category, both the Pew report and

 6 the NCHS data support the calculation of comparable staffing levels by several healthcare
 7 classifications. Due to the way that ADCRR, Pew and CDC roll up various types of staff

 8 into single categories, some of these groupings are combinations of several licensed or

 9 certified provider types (e.g., LPN and RN staff were combined into single “nursing”

10 categories in both the CDC and Pew reports). ADCRR’s number of contracted staff by
11 position 95 were compared to the 75th percentile 96 Pew and NCHS staffing rates per 1,000

12 residents, and these comparative benchmarks were recalculated for the combined
13 groupings. In cases where both clinical staff categories were comparable and state-level

14 data were appropriately comparable, the following staffing rates and benchmarks were

15 calculated:

16    Staff FTEs by             Per 1,000     Per 1,000          CDC 75th         Pew 75th
      Classification              ADC        “Balanced           Percentile       Percentile
17                              Contract      Estimate”            Range           Range
18    Staff PCP                    1.9            2.7            2.4 – 6.0          N/A
      Staff Psychiatrist           1.1            1.3             1.6 - 6.4         N/A
19    Staff MH Clinician           3.6           12.9            5.4 - 26.8         N/A
      Staff BHT                    1.0           15.0            3.7 - 23.6         N/A
20    Staff Pharm Tech             1.1            2.1             0.9 - 2.3         N/A
21    Staff Dentist                0.7            1.0             1.2 - 2.7       1.0 - 1.9
                                  Combined Staffing Classifications
22
     95
      ADCRRM0024277-0024283 - 2021-04 - Variance Report.xlsx
23   96
      The 75th percentile was selected due to concerns about the utility of prison healthcare
24 staffing benchmarks given national concerns about prison healthcare adequacy in general
   and staffing adequacy specifically, including recruiting and retention challenges. For
25 example see https://www.governing.com/archive/gov-prison-health-care.html             and
   https://www.pewtrusts.org/en/research-and-analysis/reports/2017/10/prison-health-care-
26 costs-and-quality

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1     Staff PCP + Staff              3.0               4.1             1.7 - 6.4         3.5 - 7.8
      Psychiatrist
2     Staff MH                       4.6              27.8            9.3 - 28.4        9.4 – 22.0
3     Clinician + BHT
      Staff DA + RDH                 1.5               3.7            1.6 - 3.7            N/A
4     Staff RN + LPN                 8.2              26.1           18.9 - 42.2        22.4 - 30.5

5
              With the possible exception of Pharmacy Technicians, all comparable healthcare
6
     classifications are staffed below the national 75th percentile rates at ADCRR, and in some
7
     cases they are well below the 75th percentile. In most cases, the staffing model estimates
8
     move ADCRR staffing from below the target range to within the expected reasonable range
9
     of staffing rates.
10
              The following are among the findings after based on these comparative rates,
11
     adjusting for prison census, that further support the need to enhance current ADCRR
12
     healthcare staffing levels:
13
              Estimated psychiatry staffing required in this staff model analysis for the “balanced
14
              estimate” only raises current staffing levels slightly, but the level would still below
15
              the 75th percentile. In the case of this classification, the larger “high mid-point”
16
              staffing estimate presented earlier in this analysis may be more appropriate based
17
              on this comparison.
18
              ADCRR uses significantly fewer non-psychiatric mental health staff than other
19
              prisons on a per 1,000 basis. While the staffing model in this analysis estimates a
20
              significant increase in staffing need for these classifications over current allocations,
21
              these new staffing rates would move ADCRR into a reasonable range compared to
22
              other prisons.
23
              Likewise, ADCRR uses significantly fewer nursing staff (i.e., RNs and LPNs) than
24
              other prisons after adjusting for census.       The staffing model in this analysis
25
              estimates a significant increase in staffing need for these classifications over the
26

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 1            contract current allocations, however these new nursing staffing rates would move

 2            ADCRR into a reasonable range compared to other prisons’ nursing staffing.

 3            Overall current combined ADCRR contracted prescriber staffing (MD, DO, NP,

 4            PA) appears to result in a FTE value close to the Pew 75th percentile benchmark

 5            range and within the CDC 75th percentile benchmark range. However, when

 6            evaluated separately for medical and psychiatric prescribers, both currently are

 7            below their respective 75th percentile benchmark ranges.

 8                  i.     Advanced Practice Provider (“APP”) Staffing

 9            One of the more notable staffing disparities when compared to external data is the

10 ratio of APPs to physicians providing care to ADCRR residents. ADCRR appears to have
11 about 50 APPs and 7 physicians hired in primary care (excluding medical directors and

12 other clinical supervisors). In addition, approximately 25 APPs are hired as mental health
13 providers along with approximately 6 physician psychiatrists. This produces a ratio of

14 about 7:1 APP to physician staff in primary care, about 4:1 in MH, and about 6:1 overall. 97

15            Compared to the US overall, the APP to physician ratio in primary care is inverted

16 relative to ADCRR, at 1.7:1 physicians to APPs. In US specialty care, the ratio is 2.5:1
17 physicians to APPs. The ratio across both primary and specialty care in the US is 2.2:1

18 physicians to APPs. Despite broader the practice scope for NPs in the Arizona, 98 state-
19 level data show an overall physician to APP ratio of 3.3:1, suggesting community practice

20 in Arizona is to staff more heavily with physicians vs APPs than in the US overall. 99

21
     97 Variance Report based on hired FTEs, April 2014, (ADCRRM0024277-0024283).
22   98  See Arizona Board of Nursing Scope of Practice APRN Questions & Answers,
     https://www.azbn.gov/sites/default/files/2020-11/FAQs%20Final%20Questions-
23   %20NP%207.24.20%20%281%29.pdf,              https://www.azbn.gov/sites/default/files/2018-
24   12/rulesjuly12017final.pdf; Nurse Practitioner - Nurse Practitioner Scope of Practice
     Breakdown                      (September                     7,                     2021)
25   https://www.nursepractitionerschools.com/resources/scope-of-practice/
     99 Primary Care in the United States - A Chartbook on Facts and Statistics (February 2021)
26   https://www.graham-center.org/content/dam/rgc/documents/publications-
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 1            These data suggest that ADCRR uses APPs at a rate nearly 13 times greater than the

 2 national ratio of physicians to APPs, both overall and in primary care specifically. The

 3 overall ADCRR APP to physician ratio compared to community practices in Arizona data

 4 is nearly 20 times higher than expected.
 5            The previously referenced data from CDC and Pew included APP and physician

 6 breakdowns. These data showed that prisons appear to rely more heavily on APP staff that
 7 the community at large. However, ADCRR physician to APP ratios are still significantly

 8 divergent from even this benchmark. For example, the overall ADCRR ratio of hired

 9 physicians to APPs is about 0.2:1 (i.e., the previously noted ADCRR APP ratio was

10 inverted). The median ratio in the CDC data was 1.5 physicians to APPs, and the median
11 ratio in the Pew data was about 0.9:1

12
13

14

15

16
17

18
19

20

21

22 reports/reports/PrimaryCareChartbook2021.pdf; The Supply of Physician Assistants,
   Nurse Practitioners, and Certified Nurse Midwives in Arizona (June 2014)
23 https://azahec.uahs.arizona.edu/sites/default/files/supply_of_pa_np_cnm.pdf;      Arizona
24 Primary        Care       Physician        Workforce       Report    (October       2019),
   https://uahs.arizona.edu/sites/default/files/2019_az_primary_care_physician_workforce_r
25 eport.pdf;       Arizona’s        Primary       Healthcare      Workforce      2008-2016
   https://chs.asu.edu/sites/default/files/az_primary_care_workforce_report_final_7.27.17.p
26 df.

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1 Appendix: List of abbreviations

2             ADCRR: Arizona Department of Corrections
3             APP: Advanced Practice Providers
              BHT: Behavioral Health Technician
4             CME: Continuing Medical Education
              DA: Dental Assistant
5             DO: Doctor of Osteopathic Medicine
6             FTE: Full Time Equivalent
              HS: hora somni or to “take at bedtime”
7             IPC: Inpatient Components residents
              LPN: Licensed Practical Nurses
8
              MA: Medical Assistant
9             MAT: Medically Assisted Treatment
              MD: Doctor of Medicine
10            MH: Mental Health
11            NP: Nurse Practitioner
              PA: Physician’s Assistant
12            PCP: Primary Care Provider
              PCT: Patient Care Technician
13            RDH: Registered Dental Hygienist
14            RN: Registered Nurses
              SMI: Serious Mental Illness
15            SMU: Special Management Units
              SNU: Special Needs Unit
16            SUD: Substance Use Disorder
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                  Exhibit B
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Robert Joy                                              9 16.717.7911  robertvjoy@gmail.com  linkedin.com/in/robertvjoy

With my extensive experience in evidence-based leadership, strategic planning, performance evaluation, quality
improvement, and data analysis, I have led diverse teams to help large health and human services agencies
develop and implement strategies that improve outcomes and reduce inequities for their most vulnerable clients.
I ensure my teams learn about client needs, listen to evidence, identify root causes to problems, discover
opportunities, support solutions, and sustain frameworks that help struggling families thrive. Health and human
services organizations facing complex problems rely on my expertise to define, evaluate, stabilize and improve
performance.

Since 2017, I have contracted with my clients as Owner, President and Principal Consultant of Carbone Joy
Consulting LLC, a firm focused on designing and executing strategies to improve health and human services
delivery for vulnerable populations. Between 2014 and 2017, I contracted with my health and human services
clients as Consulting Director at Public Consulting Group. Between 2007 and 2014, I contracted with my clients
as Senior Consulting Manager at Hubbert Systems Consulting. Prior to 2007, I held leadership roles at IBM and
Sutter Health. Throughout my career, 100% of my clients have provided positive references about my
performance.

Key Knowledge and Skills
Cross functional leadership, coaching and team building • Strategy development and execution • Public sector
procurement, contracting and compliance monitoring • Establishing, developing and sustaining partnerships with
senior executives • Cross-cultural fluency • Diverse stakeholder engagement, including donor/funding
organizations, non-governmental organizations, non-profit organizations, elected officials, community leaders,
and beneficiaries • Organizational change management • Developing, monitoring, executing and adjusting
project plans • Agile execution frameworks and methods • Performance monitoring and evaluation for health
and human services delivery • Designing and leading training programs • Recruitment and staff development •
Designing and developing performance measures and benchmarks • Quality assurance and quality improvement
• Program evaluation • Defining deliverable expectations and ensuring high deliverable quality • Root cause
analysis • Market intelligence on current and emerging trends • Superior oral and written communications skills
• Creative, solutions-oriented problem analysis • Business process analysis • Gap analysis between as-is (current
state) and to-be (future state) capabilities • Not-for-profit health and human services delivery • Behavioral health
• Substance use treatment • Payment reform • Managed care • Budgeting, pricing, and invoicing • Financial
statement analysis • RFP/RFO design and response • Healthcare enrollment, claims processing, medical records
and billing systems • Global health programs • International health disparities • Justice-involved populations
• Social determinants of health • Health Information Exchange (HIE) • Lean Six Sigma • PDCA/PDSA • DMAIC
• Strong facilitation and collaboration skills in challenging/complex situations

Achievements
• Ef fectively engaging executives and building coalitions of decision-makers in large health and human services
  organizations, including negotiating consensus to define strategies, goals, objectives and actions for high-profile
  data-driven improvement initiatives
• Measurably improving health and human services delivery through implementing a sustainable governance
  framework that establishes priorities, specifies objectives, standardizes metrics, optimizes data systems,
  analyzes information, supports evidence-based decisions, identifies high-impact improvement opportunities,
  implements interventions, assigns accountability, tracks progress against targets, and responds to inevitable
  change
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                              Robert Joy Resume • Page 2 • 916.717.7911  robertvjoy@gmail.com  linkedin.com/in/robertvjoy

• Providing thought leadership on good practices and lessons learned in health and human services delivery,
  strategic planning, high performing teams, problem analysis, performance monitoring, quality improvement,
  project management, decision-aiding analytics, data management, and information visualizations
• Leading high-performing teams of staff and contractors using contemporary project management frameworks
  to track tasks, deliverables, and issues for multiple concurrent initiatives, including Agile, Lean, Scrum, DevOps
  and Kanban methodologies
• Delivering objective analysis using quantitative and experiential methods to evaluate opportunities for
  interventions, solution alternatives, and returns on investment for health and human services initiatives at
  public, private and not-for profit agencies
• Serving unique needs of vulnerable populations through providing strategic planning and execution for global,
  national, state and local healthcare agencies (e.g., Medicaid, Medicare, justice-involved populations); and
  implementing the processes for meeting the unique requirements of their at-risk clients
• Designing performance monitoring and analysis solutions for clinicians, analysts, managers, executives and
  external stakeholders; acquiring and validating new data sources; implementing business intelligence
  capabilities; supporting big data analytics; leading data scientists to apply artificial intelligence, machine
  learning and predictive modeling; creating standardized metrics and benchmarks for evaluating quality,
  efficiency, access, enrollment, satisfaction and outcomes; and developing action-oriented visualizations with
  measures, trends, targets, comparisons and narratives
• Enhancing usability of strategic management inputs required for analysis, planning and execution by verifying
  information is accurate, timely, complete, and reliable, including implementation of tools such as Statistical
  Process Control (SPC) and Failure Modes and Effects Analysis (FMEA) to ensure continuous data quality
  assessment and improvement
• Recruiting, developing, coaching, disciplining and promoting staff and managers on matrixed teams in large,
  complex organizations

Education and Certifications
• Master of Business Administration, Thunderbird School of Global Management, Arizona State University,
  Phoenix, AZ
• Bachelor of Arts, International Relations, Uppsala University, SE; Copenhagen University, DK; Sacramento State
  University, CA
• Project Management Professional (PMP), Project Management Institute, ID# 1282794
• Professional Scrum Master Certification (PSM), Ken Schwaber, Scrum Co-Founder, scrum.org
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                             Robert Joy Resume • Page 3 • 916.717.7911  robertvjoy@gmail.com  linkedin.com/in/robertvjoy

Experience
Executive Quality Management Consultant, 10.2009 – Present
California Correctional Health Care Services (CCHCS), Elk Grove, CA
(Multiple competitively awarded contracts via Carbone Joy Consulting LLC, Public Consulting Group, and Hubbert
Systems Consulting)
• Facilitated executive teams to prioritize, develop, implement, and monitor strategic health initiatives at 35
  facilities across the state
• Developed and implemented enterprise-wide analytic capabilities to improve the lives of 100,000+ patients at
  a $3+ billion agency under court-supervised oversight via multiple class action lawsuits, leading to delegation
  of over half the sites back to state control
• Oversaw development of enterprise dashboard with 200+ standardized metrics, receiving the 2019 national
  HIMSS Davies Award
• Led high-profile time-limited project to redesign enterprise medical staffing models, resulting in executive
  consensus on a transparent, evidence-based approach for allocating limited clinical resources across multiple
  classifications, sites and settings
• Developed and implemented artificial intelligence and machine learning capabilities to support clinical risk
  stratification and predictive models for forecasting patient and resource needs, identifying the 13% of patients
  driving majority of the population’s cost and acuity
• Organized agile design and delivery of tools for external stakeholders, executive decision-makers, and individual
  clinicians to monitor emerging healthcare priorities for residents and staff during the COVID-19 pandemic

Senior Health Systems Consultant, 7.2016 – 6.2017
California Department of Health Care Services (DHCS), Sacramento, CA (Public Consulting Group contract)
• Provided thought leadership for executives in a $100B+ public agency to overhaul metrics, reports, data, and
  processes to support strategic planning and healthcare operations
• Improved governance approach used to oversee strategies at 20+ health plans delivering care to 10+ million
  vulnerable Californians


Strategic Planning Consultant, 1.2014 – 8.2014
California Department of Public Health (CDPH), Sacramento, CA (Hubbert Systems Consulting contract)
• Evaluated governance processes, performance data, analytic capabilities, information sources, data quality, and
  information technologies used for strategic planning and stakeholder engagement
• Delivered organizational performance assessment, gap analysis and remediation recommendations to senior
  executives
• Provided testimony to the California Legislature on my assessment findings and recommendations at the $3B+
  public health agency
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                             Robert Joy Resume • Page 4 • 916.717.7911  robertvjoy@gmail.com  linkedin.com/in/robertvjoy

Enterprise Health Data Analytics Consultant, 6.2013 – 1.2014
California Health Care Foundation (CHCF), Oakland, CA (Hubbert Systems Consulting contract)
• Worked with Foundation leadership on grant to evaluate enterprise analytic capabilities of DHCS staff,
  technologies and processes
• Led a team to develop action plan for closing gaps related to strategic planning and analytic capabilities at the
  $100B+ health agency
• Assessed agency governance structures and recommended improvements to data-driven decision-making

Senior Health Informatics Consultant, 2.2011 – 10.2012
National Commission on Correctional Health Care (NCCHC), Chicago, IL (Hubbert Systems Consulting contract)
• Facilitated nationwide project to develop strategy for standardized performance monitoring of inmate health
  delivery
• Provided thought leadership to participants in developing guidance and executing strategy to capture national
  performance data
• Presented Correctional Health Outcomes Resource Data Set (CHORDS) as a new model during international
  NCCHC conference

Lead Mental Health Information System Implementation Consultant, 9.2008 – 10.2009
California Department of State Hospitals (DSH), Sacramento, CA (Hubbert Systems Consulting contract)
• Oversaw design and implementation for strategic mental health initiative with 58 participating counties and 4
  state health agencies
• Facilitated decision-making and managed conflict among healthcare agency executives to address major risks,
  issues and alternatives

Strategic Planning and Change Management Consultant, 1.2007 – 9.2008
California Department of Health Care Services (DHCS), Sacramento, CA (Hubbert Systems Consulting contracts)
• Implemented unique strategy to improve Medicaid performance, which CMS promoted as a national model at
  its annual conference
• Worked with health agency executives to establish updated strategies, goals, objectives, and actions for two
  newly created agencies

Director, Medicaid Services, 12.1997 – 1.2007
Truven Health Analytics, an IBM Watson Health Company, Sacramento, CA (formerly Thomson MedSTAT)
• Led strategies to improve healthcare analytic capabilities and health service delivery with executives at five
  state Medicaid agencies
• Delivered and documented $488 million in cost savings related to provider fraud and insurer capitation
  overpayments
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                            Robert Joy Resume • Page 5 • 916.717.7911  robertvjoy@gmail.com  linkedin.com/in/robertvjoy

Recent Publications
California Department of Public Health Licensing & Certification Program Evaluation, August 2014
• Initial Assessment & Gap Analysis Report, Hubbert Systems Consulting, available at:
 https://www.cdph.ca.gov/Programs/CHCQ/LCP/CDPH%20Document%20Library/AssessmentAndGapAnalysis.
 pdfAssessmentAndGapAnalysis.pdf
• Remediation Recommendations, Hubbert Systems Consulting, available at:
 https://www.cdph.ca.gov/Programs/CHCQ/LCP/CDPH%20Document%20Library/RemediationRecommendatio
 ns.pdf.RemediationRecommendations.pdf
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                  Exhibit C
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                           Documents Considered by Robert Joy
                              Updated as of October 27, 2021


      No.      Document Title / Description

               Production Documents:
         1.    Contract Variance Reports
               ADCRR00069737; ADCRR00069738; ADCRR00069739
         2.    Contract Variance Report
               ADCRRM002477-0024283
         3.    Specialty Care Monthly Reports
               ADCRR00069740; ADCRR00069741; ADCRR00069742
         4.    Weekly Health Care Staffing Schedules June 2021
               ADCRR00021949-ADCRR00021976
         5.    Population and Census Projections 12 month rolling prepared 8/29/2020
               ADCRR00061547-ADCRR00061552
         6.    Employee Handbook Health Care Annual Work Hours 3/13/2020
               ADCRR00061539-ADCRR00061546
         7.    Clinical Data Reports from January 2020 – August 2021 and Dental Statistics from
               February 2020 – August 2021
               ADCRR00069938-ADCRR00069974
         8.    Centurion Contracts
               ADCRR00046154-ADCRR00046157
         9.    Off-Site Specialty Care Encounters January 2020-July 2021
               ADCRR00046158-ADCRR00056159
         10.   Hiring Reports for Correctional Staff August 31, 2020- August 23, 2021
               ADCRR00055817-ADCRR00056119
         11.   CQI Meeting Minutes 03/13/2020 Phoenix
               ADCM1608373-ADCM1608377
         12.   CQI Meeting Minutes 8/20/2020 Eyman
               ADCM1644181-ADCM1644186)
         13.   CQI Meeting Minutes - Florence 08/13/2020
               ADCM1644187-ADCM1644197
         14.   CQI Meeting Minutes 08/25/2020 Perryville
               ADCM1644204-ADCM1644211
         15.   CQI Meeting Minutes 08/17/2020 Phoenix
               ADCM1644212-ADCM1644215
         16.   CQI Meeting Minutes 09/8/2020 Douglas
               ADCM1656911-ADCM1656924
         17.   CQI Meeting Minutes 10/8/2020 Florence
               ADCM1656932-ADCM1656943
         18.   CQI Meeting Minutes 9/11/2020 Phoenix
               ADCM1656958-ADCM1656963
         19.   CQI Meeting Minutes 9/16/2020 Safford
               ADCM1656964-ADCM1656969


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      No.      Document Title / Description

         20.   CQI Meeting Minutes 9/9/2020 Winslow
               ADCM1656974-ADCM1656978
         21.   CQI Meeting Minutes 10/14/2020 Douglas
               ADCM1658032-ADCM1658050
         22.   CQI Meeting Minutes 10/22/2020 Eyman
               ADCM1658051-ADCM1658059
         23.   CQI Meeting Minutes 10/27/2020 Lewis
               ADCM1658072-ADCM1658076
         24.   CQI Meeting Minutes 10/19/2020 Phoenix
               ADCM1658085-ADCM1658090
         25.   CQI Meeting Minutes 10/14/2020 Winslow
               ADCM165801-ADCM1658090
         26.   CQI Meeting Minutes 11/9/2020 Douglas
               ADCM1669715-ADCM 1669733
         27.   CQI Meeting Minutes 11/20/2020 Eyman
               ADCM1669734-ADCM1669741
         28.   CQI Meeting Minutes 11/12/2020 Florence
               ADCM1669742-ADCM 1669752
         29.   CQI Meeting Minutes 11/20/2020 Phoenix
               ADCM1669765-ADCM1669772
         30.   CQI Meeting Minutes 11/12/2020 Winslow
               ADCM1669783-ADCM1669788
         31.   CQI Meeting Minutes 7/30/2021
               ADCRR00000856-ADCRR00000883
         32.   CQI Meeting Minutes 5/25/2021 Eyman
               ADCRR00056264-ADCRR00056304
         33.   CQI Meeting Minutes 5/13/2021 Parole Board
               ADCRR00056305-ADCRR00056464
         34.   CQI Meeting Minutes 5/14/2021 Phoenix
               ADCRR00056541-ADCRR00056587
         35.   CQI Meeting Minutes 5/26/2021 Safford
               ADCRR00056588-ADCRR00056663
         36.   CQI Meeting Minutes 5/28/2021
               ADCRR00056664-ADCRR000566719
         37.   CQI Meeting Minutes 5/26/2021 Yuma
               ADCRR00056731-ADCRR00056771
         38.   CQI Meeting Minutes 6/22/2021 Eyman
               ADCRR00061620-ADCRR00061741
         39.   CQI Meeting Minutes 6/10/2021
               ADCRR00061742-ADCRR00061821
         40.   CQI Meeting Minutes 6/28/2021 Perryville
               ADCRR00061874-ADCRR00061886
         41.   CQI Meeting Minutes 6/30/2021 Safford
               ADCRR00061958-ADCRR00061999

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      No.      Document Title / Description

         42.   CQI Meeting Minutes 7/20/2021 Eyman
               ADCRR00062184-ADCRR00062288
         43.   CQI Meeting Minutes 7/16/2021 Parole Board Room
               ADCRR00062289-ADCRR00062464
         44.   CQI Meeting Minutes 7/22/2021 Lewis
               ADCRR00062465-ADCRR00062538
         45.   CQI Meeting Minutes 7/22/2021 Phoenix
               ADCRR00062551-ADCRR00062576
         46.   CQI Meeting Minutes 7/14/2021 Winslow
               ADCRR00062613-ADCRR00062623
         47.   CQI Meeting Minutes 12/15/2020 Eyman
               ADCRRM0001680-ADCRRM0001689
         48.   CQI Meeting Minutes 12/10/2020 Florence
               ADCRRM0001690-ADCRRM0001702
         49.   CQI Meeting Minutes 12/17/2020 Lewis
               ADCRRM0001703-ADCRRM0001707
         50.   CQI Meeting Minutes 12/10/2020 Phoenix
               ADCRRM0001716-ADCRRM0001723
         51.   CQI Meeting Minutes 12/15/2020 Safford
               ADCRRM0001724-ADCRRM0001729
         52.   CQI Meeting Minutes 1/29/2021 Eyman
               ADCRRM0013347-ADCRRM0013359
         53.   CQI Meeting Minutes 1/14/2021 Florence
               ADCRRM0013360-ADCRRM0013371
         54.   CQI Meeting Minutes 1/28/2021 Winslow
               ADCRRM0013408-ADCRRM0013413
         55.   CQI Meeting Minutes 1/28/2021 Yuma
               ADCRRM0013414-ADCRRM0013421
         56.   CQI Meeting Minutes 2/11/2021 Florence
               ADCRRM0018532-ADCRRM0018543
         57.   CQI Meeting Minutes 2/26/2021 Phoenix
               ADCRRM0018560-ADCRRM0018568
         58.   CQI Meeting Minutes 2/17/2021 Safford
               ADCRRM0018569-ADCRRM0018574
         59.   CQI Meeting Minutes 2/25/2021 Tucson
               ADCRRM0018569-ADCRRM0018582
         60.   CQI Meeting Minutes 3/9/2021 Douglas
               ADCRRM0019418-ADCRRM0019430
         61.   CQI Meeting Minutes 3/25/2021 Eyman
               ADCRRM0019431-ADCRRM0019448
         62.   CQI Meeting Minutes 3/09/2021 Winslow
               ADCRRM0019501-ADCRRM0019507
         63.   CQI Meeting Minutes 4/22/2021 Eyman
               ADCRRM0024129-ADCRRM0024142

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      No.      Document Title / Description

         64.   CQI Meeting Minutes 4/30/2021 Tucson
               ADCRRM0024188-ADCRRM0024195
         65.   CQI Meeting Minutes 5/10/2021 Douglas
               ADCRRM0025060-ADCRRM0025074
         66.   CQI Meeting Minutes 5/25/2021 Eyman
               ADCRRM0025075-ADCRRM0025093
         67.   CQI Meeting Minutes 5/20/2021 Lewis
               ADCRRM0025107-ADCRRM0025116
         68.   CQI Meeting Minutes 5/14/2021 Phoenix
               ADCRRM0025127-ADCRRM0025135
         69.   CQI Meeting Minutes 5/26/2021 Safford
               ADCRRM0025136-ADCRRM0025141
         70.   CQI Meeting Minutes 5/28/2021 Tucson
               ADCRRM0025142-ADCRRM0025149
         71.   CQI Meeting Minutes 5/18/2021 Winslow
               ADCRRM0025150-ADCRM0025156
         72.   CQI Meeting Minutes 4/16/2020 Winslow
               ADCM1610499-ADCM1610503
         73.   CQI Meeting Minutes 8/20/2020 Eyman
               ADCM1644181-ADCM1644186
         74.   CQI Meeting Minutes 8/25/2020 Perryville
               ADCM1644204-ADCM1644211
         75.   CQI Meeting Minutes 9/8/2020 Douglas
               ADCM1656911-ADCM1656924
         76.   CQI Meeting Minutes 10/8/2020 Florence
               ADCM1656932-ADCM1656943
         77.   CQI Meeting Minutes 9/15/2020 Perryville
               ADCM1656950-ADCM1656957
         78.   CQI Meeting Minutes 10/14/2020 Douglas
               ADCM1658032-ADCM1658050
         79.   CQI Meeting Minute 10/22/2020 Eyman
               ADCM1658051-ADCM1658059
         80.   CQI Meeting Minute 11/9/2020 Douglas
               ADCM1669715-ADCM1669733
         81.   CQI Meeting Minutes 11/20/2020 Eyman
               ADCM1669734-ADCM1669741
         82.   CQI Meeting Minutes 11/12/2020 Florence
               ADCM1669742-ADCM1669752
         83.   CQI Meeting Minutes 5/25/2021 Eyman
               ADCRR00056264-ADCRR00056304
         84.   CQI Meeting Minutes 05/17/2020 Perryville
               ADCRR00056507-ADCRR00056540
         85.   CQI Meeting Minutes 6/22/2020 Eyman
               ADCRR00061620-ADCRR00061741

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      No.      Document Title / Description

         86.   CQI Meeting Minutes 6/10/2021 Parole Board Room
               ADCRR00061742-ADCRR00061821
         87.   CQI Meeting Minutes 7/12/2021 Douglas
               ADCRR00062152-ADCRR00062183
         88.   CQI Meeting Minutes 7/20/2021 Eyman
               ADCRR00062184-ADCRR00062288
         89.   CQI Meeting Minutes 7/16/2021
               ADCRR00062289-ADCRR00062464
         90.   CQI Meeting Minutes 7/14/2021 Winslow
               ADCRR00062613-ADCRR00062623
         91.   CQI Meeting Minutes 1/28/2021 Douglas
               ADCRRM0013328-ADCRRM0013346
         92.   CQI Meeting Minutes 2/8/2021 Douglas
               ADCRRM0018501-ADCRRM0018514
         93.   CQI Meeting Minutes 02/11/2021 Eyman
               ADCRRM0018515-ADCRRM0018531
         94.   CQI Meeting Minutes 2/11/2021 Florence
               ADCRRM0018532-ADCRRM0018543
         95.   CQI Meeting Minutes 4/14/2021 Winslow
               ADCRRM0024196-ADCRRM0024201
         96.   Mental Health Staff Roster with Licensure 04/2021
               ADCRRM0019588-ADCRRM0019591
         97.   Email from T. Dolan to V. Headstrom (Jan. 14, 2020)
               ADCRR01111128
         98.   Staffing Variances (August 2021)
               ADCRR00137140
         99.   Excel Chart Attachment B and 9 Fee Schedule and Budget Narrative
        100.   Request for Proposal Final BMP003905 Final (1) Rev. 8/17/2021
        101.   Solicitation Attachments BMP003905 Rev. 8/17/2021
        102.   Inpatient Hospital Report January 2020 All Facilities
               ADCRR00000910
        103.   Inpatient Hospital Report January 2020 All Facilities
               ADCRR00001169
        104.   February 2020 All Facilities
               ADCRR00001427
        105.   March 2020 All Facilities
               ADCRR00018342
        106.   April 2020 All Facilities
               ADCRR00020487
        107.   May 2020 All Facilities Hospital Report
               ADCRR00021480
        108.   June 2020 Hospital Report All Facilities
               ADCRR00021494
        109.   July 2020 All Facilities Hospital Report

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      No.      Document Title / Description

               ADCRR00021510
        110.   August 2020 Hospital Report All Facilities
               ADCRR00021534
        111.   Sept. 2020 All Facilities
               ADCRR00021562
        112.   October 2020 All Facilities
               ADCRR00021596
        113.   November 2020 All facilities Hospital Report
               ADCRR00021620
        114.   December 2020 Inpatient Hospital Report All Facilities
               ADCRR00021645
        115.   January 2021 All Facilities
               ADCRR00021680
        116.   February 2021 All Facilities
               ADCRR00021716
        117.   March 2021 All Facilities
               ADCRR00021752
        118.   April 2021 All Facilities
               ADCRR00021787
        119.   May 2021 All Facilities
               ADCRR00021822
        120.   June 2021 All Facilities
               ADCRR00021863
        121.   July 2021 All Facilities
               ADCRR00021889
        122.   April 2020 All Facilities
               ADCRR00021977
        123.   April 2021 All Facilities
               ADCRR00022970
        124.   August 2020 Hospital Report All Facilities
               ADCRR00023005
        125.   December 2020 Inpatient Hospital Report All Facilities
               ADCRR00023033
        126.   February 2020 All Facilities
               ADCRR00023068
        127.   February 2021 All Facilities
               ADCRR00039983
        128.   January 2021 All Facilities
               ADCRR00040019
        129.   July 2020 All Facilities Hospital Report
               ADCRR00040055
        130.   July 2021 All Facilities
               ADCRR00040079
        131.   June 2020 Hospital Report All Facilities

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      No.      Document Title / Description

               ADCRR00040139
        132.   June 2021 All Facilities
               ADCRR00040155
        133.   March 2020 All Facilities
               ADCRR00040181
        134.   March 2021 All Facilities
               ADCRR00042326
        135.   May 2020 All Facilities Hospital Report
               ADCRR00042361
        136.   May 2021 All Facilities
               ADCRR00042375
        137.   November 2020 All Facilities Hospital Report
               ADCRR00042416
        138.   October 2020 All Facilities
               ADCRR00042441
        139.   Sept. 2020 All Facilities
               ADCRR00042465
        140.   Variance Report August 2021
               ADCRR00137140
        141.   Arizona Department of Corrections, Rehabilitation & Reentry
               ADCRR00137141
        142.   Lab Test Ordered by Type 01/2020-07/2021
               ADCRR00137153
        143.   X-Rays Processed by Type 01/2020-07/2021
               ADCRR00137154
        144.   On-Site Specialty Service Encounters
               ADCRR00137155
        145.   2021.01.26 CGAR Data through October 2020
        146.   AZ Chronic Conditions Report
               ADCM1629171-1629749
        147.   AZ Chronic Conditions Report
               ADCRRM0004705-5522
        148.   2021-03 Chronic Conditions list
               ADCRRM0016136-0016952
        149.   2021-03 - Chronic Conditions List
               ADCRRM0018608-0019417
        150.   2021-04 - Chronic Conditions List
               ADCRRM0023395-0024114
        151.   2021-05 - Chronic Conditions List
               ADCRRM0024286-0025059
        152.   Monthly Staffing Reports All Prisons March to July 2015
               ADCM199664-199729
        153.   Monthly Staffing Rpt - 2015-11
               ADCM273945-273955

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      No.      Document Title / Description

        154.   Monthly Staffing - 2015-12 - All Complexes
               ADCM274691-274701
        155.   2016-01 - Monthly Staffing Report
               ADCM387315-387325
        156.   2016-02 - Monthly Staffing Report
               ADCM387326-387336
        157.   Monthly Staffing Rpt - 2016-03
               ADCM462724-462734
        158.   Monthly Staffing Rpt - 2016-04
               ADCM463749-463759
        159.   Monthly Staffing Rpt - 2016-05 – Statewide
               ADCM496743-496753
        160.   Monthly Staffing Rpt - 2016-06 – Statewide
               ADCM537964-537974
        161.   Monthly Staffing Report - 2016-07 – Statewide
               ADCM586016-586026
        162.   Monthly Staffing Report - 2016-08 – Statewide
               ADCM603839-603849
        163.   Monthly Staffing Report - 2016-09- Statewide
               ADCM659629-659639
        164.   Monthly Staffing Report - 2016-10 – Statewide
               ADCM701197-707207
        165.   Monthly Staffing Report - 2016-11 – Statewide
               ADCM750753-750763
        166.   Monthly Staffing Report - 2016-12
               ADCM772361-772371
        167.   Monitor Guide Draft Version 03-13-2020
               ADCM1607639-1607812
               Legal Filings and Rulings:
        168.   Parsons v. Shinn, 2:12-cv-00601-ROS, Stipulation, Dkt. 1185 (Oct. 14, 2014).
        169.   Parsons v. Shinn, 2:12-cv-00601-ROS, Arizona Department of Corrections Staffing
               and Retention Assessment, Dkt. 2940-1 (July 23, 2018).
        170.   Parsons v. Shinn, 2:12-cv-00601-ROS, Order, Dkt. 3495 (Feb. 12, 2020).
        171.   Parsons v. Shinn, 2:12-cv-00601-ROS, Order, Dkt. 3518 (Mar. 11, 2020).
        172.   Parsons v. Shinn, 2:12-cv-00601-ROS, Order, Dkt. 3861 (Feb. 24, 2021).
               Depositions:
        173.   Transcript of Dr. Stefanie Platt Deposition (Oct. 15, 2021).
        174.   Transcript of Larry Gann Deposition (Oct. 13, 2021).
        175.   Transcript of ADCRR 30(b)(6) Staffing Deposition (Oct. 13, 2021).
        176.   Transcript of Dr. Wendy Orm Deposition (Oct. 13, 2021).
        177.   Transcript of Centurion 30(b)(6) Staffing Deposition (Oct. 13, 2021).
        178.   Rough Transcript of David Shinn Deposition (Oct. 21, 2021).
        179.   Rough Transcript of Centurion 30(b)(6) Staffing Deposition (Oct. 19, 2021).


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      No.      Document Title / Description

               Expert Reports and Declarations:
        180.   Parsons v. Ryan, No. CV 12-00601-PHX-NVW, Declaration of Robert L. Cohen
               (Nov. 7, 2012).
        181.   Parsons v. Ryan, No. CV 12-00601-PHX-NVW, Declaration of Jay D. Shulman
               (Nov. 5, 2012).
        182.   Parsons v. Ryan, No. CV 12-00601-PHX-NVW, Declaration of Pablo Stewart (Nov.
               9, 2012).
        183.   Parsons v. Ryan, No. CV 12-00601-PHX-NVW, Confidential Report of Robert L.
               Cohen, M.D. (Nov. 8, 2013).
        184.   Parsons v. Ryan, No. CV 12-00601-PHX-NVW, Haney Isolation Report (Nov. 8,
               2013).
        185.   Parsons v. Ryan, No. CV 12-00601-PHX-NVW, Confidential Expert Report of Jay
               D. Shulman (Nov. 8, 2013).
        186.   Parsons v. Ryan, No. CV 12-00601-PHX-NVW, Stewart Mental Health Report
               (Nov. 8, 2013).
        187.   Parsons v. Ryan, No. CV 12-00601-PHX-NVW, Vail Isolation Report (Nov. 8,
               2013).
        188.   Parsons v. Ryan, No. CV 12-00601-PHX-NVW, Confidential Expert Report of Todd
               Randall Wilcox (Nov. 8, 2013).
        189.   Parsons v. Ryan, No. CV 12-00601-PHX-NVW, Williams Isolation Report (Nov. 8,
               2013).
        190.   Parsons v. Ryan, No. CV 12-00601-PHX-NVW, Supplemental Expert Report of
               Pablo Stewart (Dec. 9, 2013).
        191.   Parsons v. Ryan, No. CV 12-00601-PHX-NVW, Supplemental Expert Report of Brie
               Williams (Dec. 9, 2013).
        192.   Parsons v. Ryan, No. CV 12-00601-PHX-NVW, Confidential Rebuttal Report of
               Robert L. Cohen (Jan. 31, 2014).
        193.   Parsons v. Ryan, No. CV 12-00601-PHX-NVW, Haney Rebuttal Report (Jan. 31,
               2014).
        194.   Parsons v. Ryan, No. CV 12-00601-PHX-NVW, Confidential Rebuttal Report of Jay
               D. Shulman (Jan. 31, 2014).
        195.   Parsons v. Ryan, No. CV 12-00601-PHX-NVW, Confidential Rebuttal Report of
               Pablo Stewart (Jan. 31, 2014).
        196.   Parsons v. Ryan, No. CV 12-00601-PHX-NVW, Rebuttal Declaration of Eldon Vail
               (Jan. 31, 2014).
        197.   Parsons v. Ryan, No. CV 12-00601-PHX-NVW, Confidential Rebuttal Report of
               Todd Randall Wilcox (Jan. 31, 2014).
        198.   Parsons v. Ryan, No. CV 12-00601-PHX-NVW, Rebuttal Expert Report of Brie
               Williams (Jan. 31, 2014).
        199.   Parsons v. Ryan, No. CV 12-00601-PHX-NVW, Confidential Supplemental Report
               of Robert L. Cohen (Feb. 24, 2014).
        200.   Parsons v. Ryan, No. CV 12-00601-PHX-NVW, Confidential Supplemental Report
               of Jay D. Shulman (Feb. 24, 2014).


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      No.      Document Title / Description

        201.   Parsons v. Ryan, No. CV 12-00601-PHX-NVW, Second Supplemental Report of
               Pablo Stewart (Feb. 24, 2014).
        202.   Parsons v. Ryan, No. CV 12-00601-PHX-NVW, Supplemental Report of Eldon Vail
               (Feb. 24, 2014).
        203.   Parsons v. Ryan, No. CV 12-00601-PHX-NVW, Second Supplemental Report of
               Brie Williams (Feb. 24, 2014).
        204.   Parsons v. Ryan, No. CV 12-00601-PHX-NVW, Confidential Supplemental Report
               of Todd Randall Wilcox (Feb. 24, 2014).
        205.   Parsons v. Ryan, No. CV 12-00601-PHX-NVW, Second Supplemental Report of Jay
               D. Shulman (Feb. 24, 2014).
        206.   Parsons v. Ryan, No. CV 12-00601-PHX-NVW, Third Supplemental Report of Pablo
               Stewart (Aug. 29, 2014).
        207.   Parsons v. Ryan, No. CV 12-00601-PHX-NVW, Supplemental Report of Craig
               Haney (Sept. 5, 2014).
        208.   Parsons v. Ryan, No. CV 12-00601-PHX-NVW, Supplemental Report of Eldon Vail
               (Sept. 4, 2014).
        209.   Parsons v. Ryan, No. CV 12-00601-PHX-NVW, Second Supplemental Report of
               Robert L Cohen (Sept. 8, 2014).
        210.   Parsons v. Ryan, No. CV 12-00601-PHX-NVW, Second Supplemental Report of
               Todd Randall Wilcox (Sept. 8, 2014).
        211.   Parsons v. Ryan, No. CV 12-00601-PHX-DKD, Expert Report of Pablo Stewart
               (Mar. 30, 2016).
        212.   Parsons v. Ryan, No. CV 12-00601-PHX-DKD, Declaration of Todd R. Wilcox
               (April 11, 2016).
        213.   Parsons v. Shinn, 2:12-cv-00601-ROS, Expert Report of Marin Horn (Oct. 9, 2021).
        214.   Parsons v. Shinn, 2:12-cv-00601-ROS, Expert Report of Todd Wilcox (Oct. 9, 2021).
        215.   Parsons v. Shinn, 2:12-cv-00601-ROS, Expert Report of Craig Haney (Oct. 9, 2021).
        216.   Parsons v. Shinn, 2:12-cv-00601-ROS, Expert Report of Pablo Stewart (Oct. 9,
               2021).
        217.   Parsons v. Shinn, 2:12-cv-00601-ROS, Expert Report of Owen J. Murray (Oct. 22,
               2021).
        218.   Parsons v. Shinn, 2:12-cv-00601-ROS, Expert Report of John Wilson (Oct. 22,
               2021).
               Webpages:
        219.   http://www.nnoha.org/nnoha-content/uploads/2013/08/OpManualChapter5.pdf
        220.   https://academic.oup.com/epirev/article/40/1/157/4951841
        221.   https://academic.oup.com/labmed/article/36/9/528/2657433
        222.   https://academic.oup.com/labmed/article/47/1/83/2505042
        223.   https://academicworks.cuny.edu/jj_pubs/27/
        224.   https://advisory-prod.azureedge.net/-
               /media/project/advisoryboard/shared/research/ipp/success-pages/imaging-
               productivity-and-turnaround-time-benchmarks-report.pdf
        225.   https://app.az.gov/page.aspx/en/ctr/contract_manage_public/47912
        226.   https://arizonastatelawjournal.org/wp-content/uploads/2021/01/05-Deitch.pdf

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